                    Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 1 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported By:

KEVIN DENNIS LACY                                                                              June 1, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR


                                                                                                                                          Page 1
                                      UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF LOUISIANA


               IN RE: OIL SPILL                                                  MDL NO. 2179
               BY THE OIL RIG
               "DEEPWATER HORIZON"                                               SECTION:         J
               IN THE GULF OF
               MEXICO, ON APRIL                                                  JUDGE BARBIER
               20, 2010                                                          MAG. JUDGE SHUSHAN




                                                               Volume 1



                            Deposition of KEVIN DENNIS LACY, P.O.

               Box 7888, The Woodlands, Texas 77387, taken

               in the Pan American Life Center, Mardi Gras

               Room, 11th Floor, 601 Poydras Street, New

               Orleans, Louisiana 70130, reported on

               Wednesday, June 1st, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                 Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters              Facsimile: (504) 525-9109
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                    Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 2 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported By:

KEVIN DENNIS LACY                                                                              June 1, 2011      DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 398                                                  Page 400
   1                                                                                                  1            I would not define that they had
                                                                                                      2    a materially different safety performance or
                                                                                                      3    concerning.




 10                                                                                                   10




                                                                                           Page 399                                                  Page 401




 10                                                                                                   10




 20              Q. Did Transocean stand out to you
 21          as one of the contractors with a worse safety
 22          record?
 23              MR. ROTH:
 24                  Objection to form.
 25              THE WITNESS:
                                                                                                                          101 (Pages 398 to 401)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                       Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                      Facsimile: (504) 525-9109
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Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 3 of 82




                        WITNESS CERTIFICATE



             I, KEVIN DENNIS LACY I' have, read or have had

             the foregoing testimony read to me and hereby

             Certify that It is a true and correct transcription

             of my testimonYI      with the   exception   of any

             attached corrections or changes .


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        (Date Signed)



          ~ Signed with correct[ons as attached.
                  Signed. with no correctIons noted.
                    Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 4 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                    Reported By:

KEVIN DENNIS LACY VOL. II                                                                      June 2, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR


                                                                                                                                      Page 422
                                      UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF LOUISIANA


               IN RE: OIL SPILL                                                  MDL NO. 2179
               BY THE OIL RIG
               "DEEPWATER HORIZON"                                               SECTION:         J
               IN THE GULF OF
               MEXICO, ON APRIL                                                  JUDGE BARBIER
               20, 2010                                                          MAG. JUDGE SHUSHAN




                                                               VOLUME 2



                            Deposition of KEVIN DENNIS LACY, P.O.

               Box 7888, The Woodlands, Texas 77387, taken

               in the Pan American Life Center, Mardi Gras

               Room, 11th Floor, 601 Poydras Street, New

               Orleans, Louisiana 70130, reported on

               Thursday, June 2nd, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                 Telephone: (504) 525-9100
New Orleans, LA 70130-6009                                                Board-Certified Court Reporters              Facsimile: (504) 525-9109
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                    Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 5 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                 Reported By:

KEVIN DENNIS LACY VOL. II                                                                      June 2, 2011      DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 479                                                  Page 481
   1


                                                                                                       4                     I want to see if you recall a
                                                                                                       5   meeting with -- first of all, are you
                                                                                                       6   familiar with Robert Saltiel?
                                                                                                       7       A. I know Rob very well, yes.
                                                                                                       8       Q. He was the executive vice
                                                                                                       9   president of performance at Transocean?
 10                                                                                                   10       A. Yes.
                                                                                                      11       Q. Do you recall meeting with
                                                                                                      12   Mr. Saltiel, and perhaps others, in or around
                                                                                                      13   February of 2009, where you discussed with
                                                                                                      14   him Transocean's safety record as of that
                                                                                                      15   time?
                                                                                                      16       MS. KARIS:
                                                                                                      17           Object to form.
                                                                                                      18       THE WITNESS:
                                                                                                      19           Would this have been a meeting
                                                                                                      20   in the Gulf of Mexico specifically or a
                                                                                                      21   separate -- I -- know I had a couple of
                                                                                                      22   lunches with Rob. I know we had at least one
                                                                                                      23   meeting relative to the Gulf of Mexico rigs
                                                                                                      24   between BP and Transocean. There was a
                                                                                                      25   global business review that would have
                                                                                           Page 480                                                  Page 482
                                                                                                       1   occurred in possibly May of '09.
                                                                                                       2   EXAMINATION BY MR. ROTH:
                                                                                                       3       Q. This was actually a meeting at
                                                                                                       4   which you gave some feedback about
                                                                                                       5   performance, and Mr. -- Mr. Neil Shaw was
                                                                                                       6   present as well.
                                                                                                       7       A. Okay, yes. Okay.
                                                                                                       8       Q. You have a --
                                                                                                       9       A. So now I remember, that Neil had
 10                                                                                                   10   asked that -- he did not know Rob, and Rob
                                                                                                      11   would have been the primary person to
                                                                                                      12   discuss -- if we had concerns about
                                                                                                      13   performance. So I think I facilitated that
                                                                                                      14   meeting so Neil would have an introduction to
                                                                                                      15   Rob, and we would have discussion.
                                                                                                      16       Q. Do you recall telling
                                                                                                      17   Mr. Saltiel during that meeting that you were
                                                                                                      18   happy with the strong safety results as of
                                                                                                      19   that time on the Transocean rigs?
                                                                                                      20       A. At what date was that?
                                                                                                      21       Q. In February 2009, February 25th
                                                                                                      22   in particular?
                                                                                                      23       A. Oh, if -- if -- if it was
                                                                                                      24   specific to the Gulf of Mexico rigs, I
                                                                                                      25   absolutely would have. We had not had a
                                                                                                                            16 (Pages 479 to 482)
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New Orleans, LA 70130-6009                                                Board-Certified Court Reporters                      Facsimile: (504) 525-9109
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                    Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 6 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                    Reported By:

KEVIN DENNIS LACY VOL. II                                                                      June 2, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 483                                       Page 485
  1          lost-time incident since February of '08.                                                1
  2              Q. And you recall indicating that
  3          the best safety year was 2008?
  4              A. In the Gulf of Mexico, probably
  5          so.
  6              Q. Do you recall referencing the
  7          strong efforts -- the strong recovery efforts
  8          on the MARIANAS rig at that meeting?
  9              A. Absolutely, yes.
 10              Q. And do you recall mentioning, in                                                  10
 11          particular, the strong consistent performance
 12          with respect to safety on the Deepwater
 13          Horizon?
 14              A. Yes, it had not had a personal
 15          safety incident during my time there.




                                                                                           Page 484                                       Page 486




 10                                                                                                   10




                                                                                                                     17 (Pages 483 to 486)
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Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 7 of 82




                        WITNESS CERTIFICATE



             I, KEVIN DENNIS LACY I' have, read or have had

             the foregoing testimony read to me and hereby

             Certify that It is a true and correct transcription

             of my testimonYI      with the   exception   of any

             attached corrections or changes .


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        (Date Signed)



          ~ Signed with correct[ons as attached.
                  Signed. with no correctIons noted.
               Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 8 of 82
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

LEE LAMBERT                                                             May 9, 2011           THU BUI, CCR, RPR

                                                                                                                   Page 1
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                                        **************
                                            VOLUME 1
                                         **************




                       Deposition of LEE LAMBERT, taken
            at Pan-American Building, 601 Poydras
            Street, 11th Floor, New Orleans, Louisiana,
            70130, on the 9th of May, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                  Board-Certified Court Reporters      Facsimile:(504) 525-9109
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               Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 9 of 82
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                      Reported by:

LEE LAMBERT                                                             May 9, 2011                              THU BUI, CCR, RPR
                                                                        Page 170                                                         Page 172
                                                                                            1       A. Apparently she was, according to
                                                                                            2   those org charts, assigned to the HORIZON.
                                                                                            3   She'd never been to the HORIZON before.
                                                                                            4       Q. Okay. And you, HORIZON's not
                                                                                            5   too bad actually. Second to the
                                                                                            6   ENTERPRISE. How's the 2 treating you?
                                                                                            7              So the ENTERPRISE is your
                                                                                            8   favorite rig?
                                                                                            9       A. That's correct.
                                                                                           10       Q. What about it makes it your
                                                                                           11   favorite rig? Just out of curiosity.
                                                                                           12       A. I just like the crews on it and
                                                                                           13   the way the ship shape is set up. It's
                                                                                           14   just personal preference of how the rig is
                                                                                           15   laid out.
 16        Q. And go to the e-mail dated                                                   16
 17     Sunday, April 18, at the top.
 18              I'm going to mark it as
 19     2146.
 20           (Exhibit Number 2146 marked.)
 21        Q. It starts with -- it's actually
 22     two pages. Keep going. That's it.
 23              It's 1217915 and 1217916.
 24     I'm marking them together.
 25              It looks like it starts
                                                                        Page 171                                                         Page 173
  1     April 7th at the bottom, it begins the
  2     string. It's from Cory Davis to G Gulf of
  3     Mexico SPU all. Functional organization
  4     milestones. And then Crystal sends you an
  5     e-mail about the -- about that very
  6     document.
  7         A. Okay.
  8         Q. And then you write back. You
  9     say, Oh, no. I hate the Q. I hope this
 10     changes.
 11                What are you saying there?
 12         A. The THUNDER HORSE production
 13     drilling quarters. It's a rig. That's
 14     where, according to the org chart -- charts
 15     that they sent out, which were sent out
 16     prematurely, I guess. I was assigned to
 17     the PDQ. I don't particularly care for
 18     that rig. Just the way it's set up.
 19         Q. I understand.
 20         A. Personal preference.
 21         Q. And then she says, LOL. I've
 22     never been to HORIZON either. Oh, no.
 23                Do you know what she's
 24     saying there? Do you under -- did you
 25     understand what she was saying there?
                                                                                                                 44 (Pages 170 to 173)
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              Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 10 of 82
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                      Reported by:

LEE LAMBERT                                                             May 9, 2011                               THU BUI, CCR, RPR
                                                                        Page 306                                                         Page 308
                                                                                            1   the rig, did you ever see at anytime any
                                                                                            2   one of these men act in such a way that
                                                                                            3   would lead you to believe they were callous
                                                                                            4   or indifferent toward safety of the crew or
                                                                                            5   the environment?
                                                                                            6       A. No, sir.
                                                                                            7       Q. Did you get a chance to observe
                                                                                            8   the other members of the drill crew that
                                                                                            9   were on tour on the night of April 20th,
                                                                                           10   2010, while they were performing
                                                                                           11   operations?
                                                                                           12       A. By other members of the drill
                                                                                           13   crew, you're speaking of everyone else on
                                                                                           14   the rig?
                                                                                           15       Q. Well, no. Let me -- let me be
                                                                                           16   specific then.
                                                                                           17              The driller, Mr. Dewey
                                                                                           18   Revette?
                                                                                           19       A. Yes, sir.
                                                                                           20       Q. Okay. The AD, Mr. Steven
                                                                                           21   Curtis?
                                                                                           22       A. Yes, sir.
 23     Q. Now, I take it that in your                                                     23       Q. The other AD, Mr. Don Clark?
 24 capacity as a wellsite leader of the future                                            24       A. Yes, sir.
 25 or trainee, you had the opportunity to --                                              25       Q. Okay. Have you ever witnessed
                                                                        Page 307                                                         Page 309
  1     opportunity to observe the drill crews on                                           1   them engage in any behavior or conduct that
  2     the rig while they're performing operation;                                         2   you would describe as callous or
  3     is that right?                                                                      3   indifferent towards the safety of the crew
  4         A. Yes, sir.                                                                    4   or the environment?
  5         Q. Okay. And would this include                                                 5       A. No, sir.
  6     the drill crew that was on tour on the                                              6       Q. What about Captain Curt Kuchta,
  7     night of April 20th, 2010?                                                          7   did you ever have a chance to observe him
  8         A. Yes, sir.                                                                    8   during operations on the rig?
  9         Q. All right. And you had the                                                   9       A. Yes, sir. But let me just
 10     chance to observe the rig's OIM, Mr. Jimmy                                         10   clarify that he's not -- the marine
 11     Harrell, working aboard the rig?                                                   11   department is not necessarily involved in
 12         A. Yes, sir.                                                                   12   the drilling operations. But, yes, I had
 13         Q. How about the senior toolpusher,                                            13   dealings with Mr. Kuchta.
 14     Mr. Randy Ezell, had you had a chance to                                           14       Q. And I absolutely understand
 15     observe him working on the rig?                                                    15   that. And I just want to ask you if you
 16         A. Yes, sir.                                                                   16   had ever observed him acting in such a way
 17         Q. What about the toolpusher that                                              17   that would lead you to believe that he was
 18     was on tour, Mr. Jason Anderson? You had                                           18   indifferent or callous towards safety of
 19     to observed him performing operations as                                           19   other individuals or the environment.
 20     well, right?                                                                       20       A. No, sir.
 21         A. That's correct. Yes, sir.                                                   21       Q. Did you have any safety concerns
 22         Q. Okay. Were these men well                                                   22   whatsoever with any member of the crew, not
 23     respected on the rig?                                                              23   only on the -- the drill crew, but any crew
 24         A. In my opinion, they were. Yes.                                              24   member on the rig while you were working
 25         Q. Okay. During your time aboard                                               25   and sleeping on that rig?
                                                                                                                  78 (Pages 306 to 309)
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              Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 11 of 82
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                 Reported by:

LEE LAMBERT                                                             May 9, 2011            THU BUI, CCR, RPR
                                                                        Page 310                                    Page 312
  1        A. No, sir. I mean there's, of
  2     course, minor incidents that -- you know,
  3     there's always room for improvement.
  4     Nobody's perfect. But I wouldn't say that
  5     I would single somebody out and say that,
  6     you know, this guy is kind of a problem
  7     area. Not at all, no.
  8        Q. Okay. What about -- same
  9     question with regard to equipment. Did --
 10     did you have any concerns about the safety
 11     of equipment while you were working and
 12     sleeping aboard the rig?
 13        A. To my knowledge, no.




                                                                        Page 311                                    Page 313
  1                                                                                        1




                                                                                               79 (Pages 310 to 313)
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Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 12 of 82


                                                                    399



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  3

   4
  5
   6

   7                      WITNESS' CERTIFICATE
   8
   9

 10
 11                      I,   LEE LAMBERT,      read or have had
 12      the foregoing testimony read to me and
 13      hereby certify that it is a true and
 14      correct transcription of my testimony, with
 15      the exception of any attached corrections
 16      or changes.
 17
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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 13 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                         Reported by:


PHILIP EARL LEE                                                                          June 1, 2011   SANDRA D. FILES, CCR

                                                                                                                              Page 1
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                           Volume 1 of 2 of the Videotaped
               Deposition of PHILIP EARL LEE, 842 SCR 76,
               Bay Springs, Mississippi 39422, taken in
               the Pan American Life Center, 11th Floor,
               601 Poydras Street, New Orleans, Louisiana
               70130, on Wednesday, June 1, 2011.

               APPEARANCES:




               DEGRAVELLES, PALMINTIER, HOLTHAUS & FRUGE'
               By: Michael C. Palmintier, Esquire
               and Jonathan Williams, Esquire
               618 Main Street
               Baton Rouge, LA 70801-1910
                      (Attorneys for Plaintiffs
                      Steering Committee)




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                        Telephone (504) 525-9100
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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 14 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported by:


PHILIP EARL LEE                                                                          June 1, 2011                 SANDRA D. FILES, CCR
                                                                                           Page 382                                                 Page 384
                                                                                                       1      A. Yes.
                                                                                                       2      Q. Did they show professionalism?
                                                                                                       3      A. Yes.
                                                                                                       4      Q. To your knowledge, did they have
                                                                                                       5   an exemplary track record as Transocean
                                                                                                       6   employees aboard the Deepwater Horizon?
                                                                                                       7      A. Yes.
                                                                                                       8      Q. Were they all hard-working,
                                                                                                       9   decent men?
                                                                                                      10      A. Yes.
                                                                                                      11      Q. Would you serve with all of
                                                                                                      12   these men again if given the opportunity?
                                                                                                      13      A. Yes.
                                                                                                      14      Q. Some of them, of course, are
                                                                                                      15   deceased now.
                                                                                                      16      A. Well, I mean, if given the
                                                                                                      17   opportunity.




                                                                                           Page 383                                                 Page 385
   1                                                                                                  1




 16            Q. Did you ever have any reason to
 17        make a critical report of any of the
 18        crewmen employed by Transocean on the
 19        Deepwater Horizon?
 20            A. Not that I can recall.
 21            Q. Did you observe that these were
 22        all experienced men at what they did?
 23            A. Yes.
 24            Q. Did they demonstrate a high
 25        level of skill?

                                                                                                                            97 (Pages 382 to 385)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                                          Telephone (504) 525-9100
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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 15 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported by:


PHILIP EARL LEE                                                                          June 1, 2011                 SANDRA D. FILES, CCR
                                                                                           Page 386                                                    Page 388
                                                                                                       1       A. Yes, sir.
                                                                                                       2       Q. I believe you said this was a
                                                                                                       3   Monday night event and you left the rig on
                                                                                                       4   Wednesday morning?
                                                                                                       5       A. That's correct.
                                                                                                       6       Q. Okay. In your view, did the
                                                                                                       7   driller respond appropriately?
                                                                                                       8       A. Yes.
                                                                                                       9       Q. Do you recall what he did?
 10           Q. Did you have any -- ever have                                                        10       A. No. I -- I wasn't on the floor
 11        any problems with either Jimmy Harrell,                                                    11   when it happened, but I --
 12        Randy Ezell, Captain Kuchta, Jason                                                         12       Q. Okay.
 13        Anderson, Dewey Revette, Steve Curtis or                                                   13       A. -- I think he responded
 14        Don Clark?                                                                                 14   appropriately.
 15           A. No.                                                                                  15       Q. Are you aware of any criticism
 16           Q. Did you ever experience any                                                          16   of how the driller handled this event?
 17        indication that any of them were                                                           17       A. No, sir.
 18        indifferent or callous toward the safety of                                                18       Q. You described or were questioned
 19        individuals or the environment?                                                            19   about an event in early April, a lost
 20           A. No.                                                                                  20   circulation event. I -- I think it was
 21           Q. And based on your experience,                                                        21   referred to in questioning as a kick.
 22        did they have a good attitude towards the                                                  22           Do you have any criticism of the
 23        safety of individuals and the environment?                                                 23   Transocean driller in connection with that
 24           A. Yes.                                                                                 24   event?
 25           Q. Do you feel that either Paul                                                         25       A. No, sir.
                                                                                           Page 387                                                    Page 389
  1        Johnson, Jimmy Harrell or Randy Ezell or                                                   1        Q. Did you ever hear any or know of
  2        Jason Anderson or Dewey Revette or Stephen                                                 2    any criticism by anyone towards the
  3        Curtis, Don Clark or Captain Kuchta were in                                                3    driller?
  4        need of training to demonstrate competence?                                                4        A. No, sir.
  5            MS. O'CONNOR:                                                                          5        Q. Did you ever hear of any
  6                  Object to form.                                                                  6    criticism towards any member of the
  7            THE WITNESS:                                                                           7    Transocean crew in connection with either
  8                  Personal opinion, no, sir.                                                       8    of these kicks?
  9        BY MR. CLEMENTS:                                                                           9        A. No, sir.
 10            Q. Would you disagree with such a
 11        statement if one was made, based on your
 12        personal experience with these men?
 13            A. Yes.
 14            Q. You had the authority to stop
 15        work if you had any undue concerns about
 16        the crew or their ability to perform, did
 17        you not?
 18            A. Yes, sir.
 19            Q. You never exercised that
 20        authority based on any deficiency in these
 21        crewmen, did you?
 22            A. No, sir.
 23            Q. Were you aboard, sir, on March
 24        8th during the -- the kick that was
 25        described earlier today?

                                                                                                                            98 (Pages 386 to 389)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 16 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                           Reported by:


PHILIP EARL LEE                                                                          June 1, 2011     SANDRA D. FILES, CCR
                                                                                           Page 390                              Page 392




                                                                                                      1




 15           Q.                   Following the
 16        audit in September 2009, in the subsequent
 17        months after the audit, were you aware of
 18        any safety critical items identified in the
 19        audit which were not addressed?
 20           A. Not that -- not that I remember,
 21        no, sir.
 22           Q. Certainly, if there were any
 23        such safety critical items which were not
 24        addressed, you would have a duty to report
 25        those, would you not?
                                                                                           Page 391                              Page 393
  1            A. Yes.                                                                                1
  2            Q. And if they were truly safety
  3        critical, to stop work, that would be part
  4        of your work scope, would it not --
  5            A. Yes, sir.
  6            Q. -- or your duties?
  7            A. Yes, sir.
  8            Q. And you didn't do that?
  9            A. No, sir.
 10            Q. And you have never shut down the
 11        rig because there were any safety critical
 12        items which had been unaddressed?
 13            MS. O'CONNOR:
 14                    Object to form.
 15            THE WITNESS:
 16                    No, sir, not that I
 17        remember.




                                                                                                            99 (Pages 390 to 393)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 17 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                           Reported by:


PHILIP EARL LEE                                                                          June 1, 2011     SANDRA D. FILES, CCR
                                                                                           Page 398                              Page 400




 10                                                                                                   1




 25              Q.                                               Did you
                                                                                           Page 399                              Page 401
  1        report in writing to Mr. Guide or anyone                                                   1
  2        else onshore that there were critical items
  3        on the Deepwater Horizon that required
  4        immediate attention?
  5            A. No, sir, I don't recall doing
  6        that.
  7            Q. You never asked that the blowout
  8        preventer be taken out of service, did you?
  9            A. No, sir.
 10            Q. And I take it you had no
 11        concerns about the blowout preventer while
 12        it was on the seabed?
 13            A. No, sir.




                                                                                                            101 (Pages 398 to 401)
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     Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 18 of 82


                                      PHILIP EARL LEE VOL. II 6/2/2011
     IN RE: OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010
                                   Reported by: SANDRA D. FILES. CCR, RPR

                                                         640                                                            642

 1        Objection to form.                                     1
2    A. I don't know what Bob Kaluza                             2        WITNESS' CERTIFICATE
                                                                 3
3 did. I can't analyze what Bob Kaluza did
                                                                 4
4 because I don't know what he did. I can't                      5     I, PHILLIP EARL LEE. have read or
5 answer that                                                    6 have had the foregoing testimony read to ma
6     Q, Well. assume with me that he did                        7 and hereby cet1ifY that it is a true and
1 not consult a toolpusher.                                      8 correct transcription of my testimony. wHh
8    MS. O'CONNOR:                                               9 the exception of any attached corrections
                                                                10 or changes.
 9        Object to form.
                                                                11
10    A. I'm not going to assume what Bob                       12
11 did. I don't know what he did.                               13


                                                                            11~'~
12    Q. Well, I'm not asking you to do                         14
13 that independently. I'm telling you to                       15
14 assume with me hypothetically that he did
15 do that; that he did not consult a tool
                                                                16            PHlgh:Ee
                                                                17
16 pusher. Now, I'm asking you. as a well                            (Check One)
11 site leader, with all of the experience of                   18
18 your 42 years, wouldn't you agree with me                       ( ) NO CORRECTIONS.
19 that he wouldn't have been performing the                    19 •   CORRECTIONS; ERRATA SHEET(S)
20 task that he was supposed to have if he                         ENCLOSEO.
21 didn't consult a tool pusher?                                20
                                                                21
22     MS. O'CONNOR:                                            22
23         Objection to form.                                   23
24     A. I don't know how many negative                        24
25 tests Bob Kaluza's done. He might not have                   25


                                                          641                                                           643

 1 deemed that he needed to talk to the tool                     1        REPORTER'S CERTIFICATE
 2 pusher. I don't know Bob Kaluza. So I                         2
 3 don't know what he should have done.                          3      I, SANORA D. FILES. Certified Court
 4    Q. Okay. I accept that I                                   4 Reporter, do hereby certifY that the
 5 understand.                                                   5 above-named witness, after having been
                                                                 6 first duly sworn by me to testify to the
 6    MR. PALMINTlER:
                                                                 7 truth, did testifY as hereinabove set
 1        Thank you, sir.
                                                                 8 forth;
 8     THE WITNESS:
                                                                 9       That the testimony was reported by
 9        Thank you.
                                                                10 me in shorthand and transcribed under my
10    VIDEOGRAPHER:
                                                                11 personal direction and supervision, and is
11        We're going off the record.
                                                                12 a true and correct transcript. to Ihe best
12 Ifs1:19. Videotape number 4.
                                                                13 of my ability and understanding:
13       (The deposition is conduded.)                          14       That I am not of counsel. not
14                                                              15 related to counselor the parties hereto.
15                                                              16 and not in anyway Interested in the



             ~~:~u:~u
16                                                              17 outcome of this malter.
11                                                              18
18                                                              19
19                                                              20
20                                                              21
21                ~                            ~                22      SANDRA D. FilES, CCR
22                                                                      CERTIFIED COURT REPORTER
23                                                              23
24                                                              24
25                                                              25


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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 19 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                   Reported by:


PHILIP EARL LEE VOL. II June 2, 2011                                                               SANDRA D. FILES, CCR

                                                                                                                     Page 431
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                           Volume 2 of 2 of the Videotaped
               Deposition of PHILIP EARL LEE, 842 SCR 76,
               Bay Springs, Mississippi 39422, taken in
               the Pan American Life Center, 11th Floor,
               601 Poydras Street, New Orleans, Louisiana
               70130, on Thursday, June 2, 2011.

               APPEARANCES:




               DEGRAVELLES, PALMINTIER, HOLTHAUS & FRUGE'
               By: Michael C. Palmintier, Esquire
               and Jonathan Williams, Esquire
               618 Main Street
               Baton Rouge, LA 70801-1910
                      (Attorneys for Plaintiffs
                      Steering Committee)




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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 20 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported by:


PHILIP EARL LEE VOL. II June 2, 2011                                                                                     SANDRA D. FILES, CCR
                                                                                           Page 576                                                  Page 578




 10                                                                                                   10




                                                                                                      24   Q. Are you aware of any instances
                                                                                                      25 where continuous improvement plans were
                                                                                           Page 577                                                  Page 579
                                                                                                       1   implemented on the Deepwater Horizon?
                                                                                                       2      A. Well, it's a day-to-day deal to
                                                                                                       3   continuously improve. So I mean, it takes
                                                                                                       4   into account the rig personnel and everyone
                                                                                                       5   being involved to improve.
                                                                                                       6          The Horizon had a good safety
                                                                                                       7   record, so if you are going to improve on
                                                                                                       8   safety, it was just stay focused on the
                                                                                                       9   things you're doing right.
 10                                                                                                   10




                                                                                                                            38 (Pages 576 to 579)
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     Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 21 of 82


                                      PHILIP EARL LEE VOL. II  6/212011
     IN RE: OIL SPilL BY THE OIL RIG "DEEPWATER HORIZON"IN THE GULF OF MEXICO, ON APRIL 20,2010
                                   Reported by: SANDRA D. FilES, CCR, RPR

                                                         640                                                          642

 1         Objection to form.                                   1
 2     A. I don't know what Bob Kaluza                          2        WITNESS' CERTIFICATE
                                                                3
 3 did. I can't analyze what Bob KalUZa did
                                                                4
 4 because I don't know what he did. I can't                    5      I, PHILLIP EARL LEE, have read or
 5 answer thal                                                  6 have had the foregoing testimony read to me
 6     O. Well, assume with me that he did                      7 and hereby certity that it is a true and
 7 not consult a toolpusher.                                    8 correct transcription of my testimony, with
 8     MS. O'CONNOR:                                            9 the exception of any aUached corrections
                                                               10 or changes.
 9         Object to form.
                                                               11
10     A. I'm not going to assume what Bob                     12
11 did. I don't know what he did.                              13


                                                                          11~'~
12     O. Well, I'm not asking you to do                       14
13 that independently, I'm telling you to                      15
14 assume with me hypothetically that he did
15 do that; that he did not consult a tool                     16
                                                               17
                                                                          PHI~
16 pusher. Now, I'm asking you, as a well                           (Check One)
17 site leader, with all of the experience of                  18
18 your 42 years. wouldn't you agree with me                      ( ) NO CORRECTIONS.
19 that he wouldn't have been performing the                   19 • CORRECTIONS; ERRATA SHEET(S)
20 task that he was supposed to have if he                        ENCLOSED.
21 didn't consult a tool pusher?                               20
                                                               21
22     MS. O'CONNOR:                                           22
23         Objection to form.                                  23
24     A I don't know how many negative                        24
25 tests 80b Kaluza's done. He might not have                  25


                                                         641                                                          643

 1 deemed that he needed to talk to the 1001                    1          REPORTER'S CERTIFICATE
 2 pusher. I don't know Bob Kaluza. So I                        2
 3 don't know what he should have done.                         3       I, SANDRA D. FilES, Certified Court
 4    O. Okay. I accept that. I                                 4 Reporter, do hereby certify that \he
 5 understand.                                                  5 above-named witness, after having been
                                                                6 first duly swom by me to testity to the
 6    MR. PALMINTIER:
                                                                7 truth, did testify as hereinabove set
 7         Thank you, sir.
 a      THE WITNESS:
                                                                a forth;
                                                                9       That the testimony was reported by
 9         Thank you.
                                                               10 me in shorthand and transcribed under my
10     VIDEOGRAPHER:
                                                               11 personal dlreetlon and supervision, and Is
11         We're going off the record.                         12 a true and correet transcript, to the best
12 It's 1:19. Videotapenumber4.                                13 of my abiUly and understanding:
13         (The deposition is concluded.)                      14       That I am not of counsel. not
14                                                             15 related to counselor the parties hereto.
15                                                             18 and not in anyway interested in the



             ~1~:~,O:~1}
16                                                             17 outcome of this matter.
17                                                             18
1a                                                             19
19                                                             20
20                                                             21
21               1                             l:::J           22      SANDRA D. FILES, CCR
22                                                                     CERTIFIED COURT REPORTER
23                                                             23
24                                                             24
25                                                             25


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Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 22 of 82


                                                                           Page 303
                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


         IN RE: OIL SPILL           )     MDL NO. 2179
         BY THE OIL RIG             )
         "DEEPWATER HORIZON" IN     )     SECTION "J"
         THE GULF OF MEXICO, ON     )
         APRIL 20, 2010             )     JUDGE BARBIER
                                    )     MAG. JUDGE SHUSHAN


                  ****************************************
                     ORAL AND VIDEOTAPED DEPOSITION OF
                                 IAN LITTLE
                               JUNE 10, 2011
                                  VOLUME 2
                  ****************************************


                  ORAL AND VIDEOTAPED DEPOSITION of IAN LITTLE,

         produced as a witness at the instance of the Plaintiffs'

         Steering Committee, and duly sworn, was taken in the

         above-styled and numbered cause on June 10, 2011, from

         8:34 a.m. to 5:53 p.m., before PHYLLIS WALTZ, CSR, TCRR,

         RPR, CRR, recorded by machine shorthand, at the offices

         of Kirkland & Ellis International, 30 St. Mary Axe,

         22nd Floor, London EC3A 8AF, England, United Kingdom,

         pursuant to the Federal Rules of Civil Procedure and the

         provisions stated on the record or attached hereto; that

         the deposition shall be read and signed before any

         Notary Public.




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                                   Page 380                                                         Page 382
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        2                                              2
        3                                              3
        4                                              4
10:21                                         10:23
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        9                                              9
10:21                                         10:24
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10:21                                         10:24




                                   Page 381                                                         Page 383
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10:22 10
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10:23

                                                      17      Q. What was your impression of the
                                                      18   professionalism of the Transocean personnel onshore and
                                                      19   on the rigs that you dealt with?
                                              10:26   20             MR. FIELDS: Objection; form.
                                                      21      A. I -- I have no particular issues around the --
                                                      22   the Transocean people I was working with. I -- I had a
                                                      23   good relationship with the ones that I worked with.
                                                      24      Q. (BY MR. ROBERTS) Did they appear competent to
                                              10:32   25   you?

                                                                       21 (Pages 380 to 383)
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                                                         Page 384                                    Page 386
        1        A. I had no reason to question the competencies             1
        2    of -- of what they were doing.                                  2
        3        Q. Did they ever appear indifferent to the safety           3
        4    of other individuals to you?                                    4
10:32   5        A. I don't know what you mean by "indifferent."     10:38
        6        Q. They just didn't give a damn if people got               6
        7    hurt or if the environment was hurt?                            7
        8        A. I don't -- I didn't see that.                            8
        9                                                                    9
10:32                                                                10:38
        11                                                                   11
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10:32                                                                10:39
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                                                         Page 385                                    Page 387
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10:32                                                                10:39
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                                                                                  22 (Pages 384 to 387)
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                                                                          Page 1
             UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL          )     MDL NO. 2179
BY THE OIL RIG            )
"DEEPWATER HORIZON" IN    )     SECTION "J"
THE GULF OF MEXICO, ON    )
APRIL 20, 2010            )     JUDGE BARBIER
                          )     MAG. JUDGE SHUSHAN




                    *****************
                         VOLUME 1
                    *****************




         Deposition of John Mogford, taken at
Kirkland & Ellis International, 30 St. Mary Axe,
22nd Floor, London EC3A 8AF, England, United Kingdom,
on the 28th of June, 2011.




            PURSUANT TO CONFIDENTIALITY ORDER
                                                              f1e7a73f-33fc-4abf-b8c0-61a786bdd8bf
        Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 27 of 82

                                           Page 254                                                     Page 256
                                                       1       Q. Okay. And that includes the men who
                                                       2    tragically lost their lives April 20th, you -- you
                                                       3    never met any of them that you recall?
                                                       4       A. Not as far as I'm aware.
                                                       5       Q. Okay. Had -- had you ever been aboard the
                                                       6    DEEPWATER HORIZON?
                                                       7       A. No.
                                                       8       Q. Okay. And what about the DEEPWATER HORIZON
                                                       9    shore-base Management, do you know any individuals
                                                      10    employed by Transocean in those roles?
                                                      11       A. Not as far as I'm aware.
                                                      12       Q. Just throw out some names and see if you
                                                      13    recognize anyone. Paul Johnson, you recognize that
                                                      14    name?
                                                      15       A. No.
                                                      16       Q. Don Winslow?
                                                      17       A. No.
                                                      18       Q. Buddy Trahan?
                                                      19       A. No.
                                                      20       Q. James Kent?
                                                      21       A. No.
                                                      22       Q. Okay. Given your responses, then, I -- I
                                                      23    guess I would be correct in stating you've got no
                                                      24    evidence, based on your personal knowledge, to share
                                                      25    with the Court or a Jury about the competency or
                                           Page 255                                                     Page 257
1                                                       1   training of the DEEPWATER HORIZON crew; is that fair?
                                                        2      A. That's totally fair.
                                                        3      Q. Okay. And I -- I -- I would be correct in
                                                        4   stating that you don't intend to offer any criticism in
                                                        5   your testimony today, or at Court, if you were to come
                                                        6   to Court to testify, about the DEEPWATER HORIZON Rig
                                                        7   Management; is that true?
                                                        8      A. I intend to ask -- answer your questions
                                                        9   fairly and completely.
1                                                      10      Q. Okay. But -- but based on your personal
                                                       11   knowledge, you don't have any evidence that would
                                                       12   suggest --
                                                       13      A. I told you, I don't know any of them, so --
                                                       14      Q. Good. I just want to make sure. And you've
                                                       15   got no knowledge regarding the condition of the
                                                       16   DEEPWATER HORIZON Rig or it's equipment; is that true?
                                                       17      A. None at all.
                                                       18      Q. Okay. Now, you left the company in June of
                                                       19   2009; is that correct?
                                                       20      A. That's correct, yeah.
                                                       21      Q. Okay. And prior to the time you left, you
                                                       22   were in the role of Group Vice President of HSS&E?
23      Do you know or have you ever met any member of 23      A. The year -- 18 months before I left -- or a
24 the DEEPWATER HORIZON crew?                         24   year before I left the company I was in charge of
25    A. Not as far as I'm aware.                      25   refining and U.S. Downstream business.

                                                                              65 (Pages 254 to 257)
                     PURSUANT TO CONFIDENTIALITY ORDER
                                                                                           f1e7a73f-33fc-4abf-b8c0-61a786bdd8bf
         Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 28 of 82

                                                Page 258                              Page 260
 1      Q. Okay. What was your title when you actually
 2   left the company?
 3      A. Executive Vice President and COO of Refining
 4   and U.S. Fuels Value Chain.
 5      Q. Okay. And just prior to that, what was your
 6   actual title?
 7      A. Executive Vice President of Safety and
 8   Operations.
 9      Q. Okay. In that role, when you were in that
10   role, did anyone ever express concerns to you about the
11   competency of the DEEPWATER HORIZON Rig crew?
12      A. No.
13      Q. Okay. How about in any role that you ever had
14   with BP, did anyone ever express concerns to you about
15   the training or competency of the DEEPWATER HORIZON Rig
16   crew?
17      A. No.
18      Q. Okay. In the role as Executive Vice President
19   that we were discussing, did anyone ever express
20   concerns to you about the condition of the rig or its
21   equipment?
22      A. No.
23
24


                                                Page 259                              Page 261
1                                                              1




1                                                              1




                                                                   66 (Pages 258 to 261)
                        PURSUANT TO CONFIDENTIALITY ORDER
                                                                         f1e7a73f-33fc-4abf-b8c0-61a786bdd8bf
Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 29 of 82




                                                                                       373

              1

              2              I, JOHN MOGFORD, have read the foregoing
              3   deposition and hereby affix my signature that same is
              4   true and correct, except as noted on the attached
              5   Amendment Sheet.
              6
              7


              o
              9


             10


             11
             12                                                             I   on

             13
                  this day personally appeared JOHN MOGFORD, lmmm to mo
                  (or proved to me 60~I1~t~.h~o~o~·a~tHh~o~f___________________________
                                                                                       ~~



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             14   to be the person '..vhos() name is subscribed to the
                  foregoing i.nstrument dnd executed the same for the
             15   purposes and consideration therein expressed.
                            GIVEN UNDER my hand and seal of
             16          day of    IlCAa",';"     I 2011.
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                                   Nota ry Public
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                                     ANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 30 of 82

                                                        1                                                         3
             UNITED STATES DISTRICT COURT                    1   APPEARING FOR MOEX:
                                                                   Mr. Christopher J. McNevin
             EASTERN DISTRICT OF LOUISIANA                   2     PILLSBURY WINTHROP SHAW PITTMAN
                                                                   725 South Figueroa Street, Suite 2800
     IN RE: OIL SPILL     ) MDL NO. 2179                     3     Los Angeles, California 90017-5408
                                                             4
     BY THEOIL RIG      )                                        APPEARING FOR CAMERON INTERNATIONAL
     "DEEPWATER HORIZON" IN ) SECTION "J"                    5   CORPORATION:
     THE GULF OF MEXICO, ON )                                      Ms. Kathleen A. Gallagher
     APRIL 20, 2010    ) JUDGE BARBIER                       6     BECK, REDDEN & SECREST
                                                                   One Houston Center
                  ) MAG. JUDGE SHUSHAN                       7     1221 McKinney Street, Suite 4500
                                                                   Houston, Texas 77010-2010
                                                             8
                                                             9   APPEARING FOR WEATHERFORD:
                                                                   Mr. Michael G. Lemoine
                                                            10     JONES, WALKER, WAECHTER, POITEVENT,
                                                                   CARRERE & DENEGRE, LLP
                                                            11     600 Jefferson Street, Suite 1600
                                                                   Lafayette, Louisiana 70501
                                                            12
                                                                   Ms. Sara C. Valentine
                                                            13     JONES, WALKER, WAECHTER, POITEVENT,
                                                                   CARRERE & DENEGRE, LLP
                                                            14     201 St. Charles Avenue
                                                                   New Orleans, Louisiana 70170-5100
                                                            15
                 *****************                          16   APPEARING FOR DRIL-QUIP, INC.:
                    VOLUME 1                                       Mr. C. Dennis Barrow, Jr.
                 *****************                          17     WARE, JACKSON, LEE & CHAMBERS
                                                                   America Tower, 42nd Floor
                                                            18     2929 Allen Parkway
                                                                   Houston, Texas 77019-7101
              Deposition of Patrick Leon                    19
     O'Bryan, Ph.D. as a Corporate Representative,          20   APPEARING FOR M-I SWACO:
                                                                   Mr. Steven A. Luxton
     taken at Pan-American Building, 601 Poydras            21     MORGAN, LEWIS & BOCKIUS, LLP
     Street, 11th Floor, New Orleans, Louisiana,                   1111 Pennsylvania Avenue, NW
     70130, on the 14th day of July, 2011.                  22     Washington, D.C. 20004
                                                            23
                                                            24
                                                            25

                                                        2                                                         4
 1          APPEARANCES                                      1   APPEARING FOR HALLIBURTON:
 2                                                                Mr. Donald E. Godwin
 3   APPEARING FOR THE PLAINTIFFS' STEERING                  2    Ms. Stefanie K. Major
     COMMITTEE:                                                   Mr. James E. Johanns
 4    Mr. Paul M. Sterbcow                                   3    GODWIN RONQUILLO
      Ms. Beth Abramson                                           1201 Elm Street, Suite 1700
 5    LEWIS, KULLMAN, STERBCOW & ABRAMSON                    4    Dallas, Texas 75270-2041
      601 Poydras Street, Suite 2615                         5
 6    New Orleans, Louisiana 70130                               APPEARING FOR SEACOR:
 7                                                           6    Mr. Jeremy T. Grabill
     APPEARING FOR BP, INC.:                                      WEIL, GOTSHAL & MANGES
 8    Ms. Hariklia "Carrie" Karis                            7    767 Fifth Avenue
      KIRKLAND & ELLIS                                            New York, New York 10153-0119
 9    300 North LaSalle                                      8
      Chicago, Illinois 60654                                9   APPEARING FOR IAR:
10                                                                Mr. H. Carter Marshall
       Ms. Karen K. Gase                                    10    CHRISTOVICH & KEARNEY
11     Managing Attorney                                          601 Poydras Street, Suite 2300
                                                            11    New Orleans, Louisiana 70130
       BP AMERICA INC.
                                                            12
12     501 Westlake Park Boulevard
                                                                 APPEARING FOR THE UNITED STATES:
       Houston, Texas 77079                                 13    Mr. A. Nathaniel Chakeres
13
                                                                  U.S. DEPARTMENT OF JUSTICE
14   APPEARING FOR TRANSOCEAN:                              14    ENVIRONMENTAL & NATURAL
      Mr. Richard J. Hymel                                        RESOURCES DIVISION
15    PREIS & ROY                                           15    601 D Street, N.W.
      Versailles Centre, Suite 400                                Washington, D.C. 20004
16    102 Versailles Boulevard                              16
      Lafayette, Louisiana 70501                            17   APPEARING FOR THE STATE OF ALABAMA:
17                                                                Mr. Corey L. Maze
       Mr. Paul C. Thibodeaux                               18    Special Deputy Attorney General
18     FRILOT                                                     Mr. James W. Davis
       1100 Poydras Street, Suite 3600                      19    OFFICE OF THE ATTORNEY GENERAL
19     New Orleans, Louisiana 70163                               STATE OF ALABAMA
20                                                          20    501 Washington Avenue
     APPEARING FOR ANADARKO PETROLEUM COMPANY:                    Montgomery, Alabama 36104
21    Ms. Deborah D. Kuchler                                21
      Mr. Thomas A. Porteous                                22   APPEARING FOR THE STATE OF LOUISIANA:
22    KUCHLER POLK SCHELL WEINER & RICHESON                       Mr. Henry Dart
      1615 Poydras Street, Suite 1300                       23    510 North Jefferson Street
23    New Orleans, Louisiana 70112                                Covington, Louisiana 70433
24                                                          24
25                                                          25

                                                                                                    1 (Pages 1 to 4)
                                         PURSUANT TO CONFIDENTIALITY ORDER
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                                                   17                              19
 1        Q. Okay. So would -- would April
 2   20, 2010 have been the first and only
 3   opportunity you had to visit the rig?
 4        A. As far as a scheduled visit,
 5   that's correct. I -- I could have gone out
 6   if I wanted to try to make a visit prior to
 7   that, but that was the first scheduled
 8   opportunity.
 9        Q. Okay. And Mr. Sims accompanied
10   you out there, if I read this correctly?           1
11        A. That's correct.




                                                   18                              20




1                                                       1




                                                                5 (Pages 17 to 20)
                          PURSUANT TO CONFIDENTIALITY ORDER
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                                                    21                                                        23
                                                          1   these visits would occur every two months,
                                                          2   and it was a dedicated helicopter to -- to
                                                          3   take us out. And usually on these visits,
                                                          4   there were two rigs that we would go and
                                                          5   visit, and on this particular trip we were
                                                          6   visiting the DDIII, or the HORIZON, and I was
                                                          7   asked prior to -- about a week or two prior
                                                          8   to the trip, which rig I wanted to go to, and
                                                          9   the HORIZON was a rig that I -- I selected
1                                                        10   because it was, in our fleet, the
                                                         11   best-performing rig from a safety and a
                                                         12   drilling performance standpoint,
                                                         13   best-performing rig in the fleet, and it also
                                                         14   was one of the better-performing rigs in the
                                                         15   Transocean fleet. And so being new to the
                                                         16   role and having -- this being my first trip
                                                         17   offshore, I wanted to go out and visit and
                                                         18   see kind of what "good" looked like, based
                                                         19   upon, you know, the -- the performance and
                                                         20   the safety on the rig and -- and discuss the
                                                         21   culture and -- and kind of what was, you
                                                         22   know -- what made them successful.

                                                y

                                                    22                                                        24




1                                                        1




17       Q. All right. My understanding is,
18   is that you went to the rig to actually -- I
19   don't know if it's present an award, but to
20   acknowledge the rig crew for safe practices;
21   is that fair?
22       A. No. The -- the visit that I
23   went on, we have regularly scheduled rig
24   visits by Leadership for both -- not only BP
25   but also Transocean. And this particular --
                                                                                   6 (Pages 21 to 24)
                        PURSUANT TO CONFIDENTIALITY ORDER
            Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 33 of 82

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             UNITED STATES DISTRICT COURT                     1   APPEARING FOR CAMERON INTERNATIONAL
                                                                  CORPORATION:
             EASTERN DISTRICT OF LOUISIANA                    2     Ms. Kathleen A. Gallagher
                                                                    BECK, REDDEN & SECREST
                                                              3     One Houston Center
     IN RE: OIL SPILL     ) MDL NO. 2179                            1221 McKinney Street, Suite 4500
     BY THEOIL RIG      )                                     4     Houston, Texas 77010-2010
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5   APPEARING FOR WEATHERFORD:
                                                                    Mr. Michael G. Lemoine
     THE GULF OF MEXICO, ON )                                 6     JONES, WALKER, WAECHTER, POITEVENT,
     APRIL 20, 2010    ) JUDGE BARBIER                              CARRERE & DENEGRE, LLP
                                                              7     600 Jefferson Street, Suite 1600
                  ) MAG. JUDGE SHUSHAN                              Lafayette, Louisiana 70501
                                                              8
                                                                    Mr. Wayne G. Zeringue, Jr.
                                                              9     JONES, WALKER, WAECHTER, POITEVENT,
                                                                    CARRERE & DENEGRE, LLP
                                                             10     201 St. Charles Avenue
                                                                    New Orleans, Louisiana 70170-5100
                                                             11
                                                                    Mr. Brett S. Venn
                                                             12     JONES, WALKER, WAECHTER, POITEVENT,
                                                                    CARRERE & DENEGRE, LLP
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                                                                    New Orleans, Louisiana 70170-5100
                                                             14
                                                                  APPEARING FOR DRIL-QUIP, INC.:
                                                             15     Ms. Margaret Bryant
                  *****************                                 WARE, JACKSON, LEE & CHAMBERS
                                                             16     America Tower, 42nd Floor
                     VOLUME 2                                       2929 Allen Parkway
                  *****************                          17     Houston, Texas 77019-7101
                                                             18   APPEARING FOR M-I SWACO:
                                                                    Mr. Lucas T. Elliot
                                                             19     MORGAN, LEWIS & BOCKIUS, LLP
              Continuation of the deposition                        1000 Louisiana Street, Suite 4200
                                                             20     Houston, Texas 77002-5006
     of Patrick Leon O'Bryan, Ph.D. as a Corporate           21   APPEARING FOR HALLIBURTON:
     Representative, taken at Pan-American                          Mr. Donald E. Godwin
     Building, 601 Poydras Street, 11th Floor, New           22     Ms. Stefanie K. Major
                                                                    Ms. Jenny L. Martinez
     Orleans, Louisiana, 70130, on the 15th day of           23     Mr. James E. Johanns
     July, 2011.                                                    Mr. Jon-Bernard Schwartz
                                                             24     GODWIN RONQUILLO
                                                                    1201 Elm Street, Suite 1700
                                                             25     Dallas, Texas 75270-2041

                                                       474                                                           476
 1          APPEARANCES                                       1     Ms. Gwen E. Richard
 2                                                                  GODWIN RONQUILLO
 3   APPEARING FOR THE PLAINTIFFS' STEERING                   2     1331 Lamar, Suite 1665
     COMMITTEE:                                                     Houston, Texas 77010-3133
 4     Mr. Paul M. Sterbcow                                   3
       LEWIS, KULLMAN, STERBCOW & ABRAMSON                        APPEARING FOR SEACOR:
 5     601 Poydras Street, Suite 2615                         4     Mr. Jeremy T. Grabill
       New Orleans, Louisiana 70130                                 WEIL, GOTSHAL & MANGES
 6                                                            5     767 Fifth Avenue
     APPEARING FOR BP, INC.:                                        New York, New York 10153-0119
                                                              6
 7     Ms. Hariklia "Carrie" Karis
                                                                  APPEARING FOR THE UNITED STATES:
       KIRKLAND & ELLIS                                       7     Mr. A. Nathaniel Chakeres
 8     300 North LaSalle                                            U.S. DEPARTMENT OF JUSTICE
       Chicago, Illinois 60654                                8     ENVIRONMENTAL & NATURAL
 9                                                                  RESOURCES DIVISION
     APPEARING FOR TRANSOCEAN:                                9     601 D Street, N.W.
10     Mr. Richard J. Hymel                                         Washington, D.C. 20004
       PREIS & ROY                                           10
11     Versailles Centre, Suite 400                               APPEARING FOR THE STATE OF LOUISIANA:
       102 Versailles Boulevard                              11     Mr. Henry Dart
12     Lafayette, Louisiana 70501                                   510 North Jefferson Street
13     Mr. Paul C. Thibodeaux                                12     Covington, Louisiana 70433
       FRILOT                                                13     Ms. Phyllis E. Glazer
14     1100 Poydras Street, Suite 3600                              Assistant Attorney General
       New Orleans, Louisiana 70163                          14     Litigation Division
15                                                                  LOUISIANA DEPARTMENT OF JUSTICE
     APPEARING FOR ANADARKO PETROLEUM COMPANY:               15     400 Poydras Street, Suite 1600
16     Ms. Deborah D. Kuchler                                       New Orleans, Louisiana 70130-3220
       Mr. Thomas A. Porteous                                16
17     KUCHLER POLK SCHELL WEINER & RICHESON                        Mr. Lambert J. "Joe" Hassinger, Jr.
       1615 Poydras Street, Suite 1300                       17     GALLOWAY, JOHNSON, TOMPKINS, BURR
18     New Orleans, Louisiana 70112                                 AND SMITH
19     Mr. Warren Anthony Fitch
                                                             18     701 Poydras Street, 40th Floor
                                                                    New Orleans, Louisiana 70139
       BINGHAM MCCUTCHEN
                                                             19
20     2020 K Street, Northwest
                                                                  APPEARING FOR PATRICK LEON O'BRYAN, PH.D.:
       Washington, D.C. 20006-1806                           20     Mr. Richard T. Simmons, Jr.
21                                                                  Mr. W. Glenn Burns
     APPEARING FOR MOEX:                                     21     HAILEY, MCNAMARA, HALL, LARMANN & PAPALE
22     Mr. Christopher J. McNevin                                   One Galleria Boulevard, Suite 1400
       PILLSBURY WINTHROP SHAW PITTMAN                       22     Metairie, Louisiana 70001
23     725 South Figueroa Street, Suite 2800                 23
       Los Angeles, California 90017-5408                         ALSO PRESENT:
24                                                           24    Mr. Mark Hendrix, Videographer
25                                                           25

                                                                                                    1 (Pages 473 to 476)
                                         PURSUANT TO CONFIDENTIALITY ORDER
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11                                         14       Q. Okay. With regard to
                                           15   Mr. Winslow, since you knew him, did you ever
                                           16   experience any indication that he was
                                           17   indifferent or callous towards safe --
                                           18   towards the safety of individuals or the
                                           19   environment?
                                           20       A. Not at all.
                                           21       Q. Okay. You'd agree it was just
                                           22   the opposite?
                                           23       A. I -- I -- I never heard him say
                                           24   anything that led me to believe that he
                                           25   wasn't totally focused on safety and -- and
                                                                   2 (Pages 477 to 480)
                 PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 35 of 82

                                                        481                                                  483
    1   the environment.                                       1   DEEPWATER HORIZON was the best-performing rig
    2       Q. Okay. Did you ever experience                   2   in BP's fleet; is that correct?
    3   any indication that anyone with Transocean             3       A. That's correct.
    4   was indifferent or callous towards the safety          4       Q. And both from a performance
    5   of individuals or the environment?                     5   standpoint and a safety standpoint?
    6       A. No. I've had good working                       6       A. That's correct.
    7   relationships with many folks at Transocean.           7       Q. You remember giving an interview
    8                                                          8   with the Bly Team on April 24th of 2010?
                                                               9       A. I believe it was Saturday
1                                                             10   morning, if that was the 24th. I think it
                                                              11   was the 25th.
                                                              12       Q. And in that interview, there's
                                                              13   notes written by someone -- I can't remember
                                                              14   exactly who -- who the notes were. But the
                                                              15   notes basically say that the DEEP --
                                                              16   DEEPWATER HORIZON was the best-performing rig
                                                              17   and safest. It represented what good looks
                                                              18   like.
                                                              19            Is that something that you
                                                              20   recall telling the --
                                                              21       A. That's --
                                                              22       Q. -- Bly Investigators?
                                                              23       A. That's correct. That's the
                                                              24   reason why I visited the rig on this
                                                              25   particular rig visit.
                                                        482                                                  484



 3           Q. On April 20th, 2010, were you
 4      aware of any problems with the BOP?
 5           A. None that I was aware of, no.
 6           Q. Did anybody at BP ever tell you
 7      that the BOP was not functioning properly?
 8           A. No.
 9           Q. Did anybody at BA -- BP ever
10      tell you that the BOP had not been properly           1
11      maintained?
12           A. No.
13           Q. You slept on that rig while the
14      BOP was on the seabed, correct?
15           A. No, I never did get a chance --
16           Q. Oh, that's true.
17           A. -- to go to sleep.
18           Q. You didn't get a chance to sleep
19      on the rig. Good point --
20           A. I was just about to go to bed,                20           One of the reasons you wanted to
21      but --                                                21   go out to the DEEPWATER HORIZON was to look
22           Q. Yeah.                                         22   at the culture and so forth to determine how
23           A. -- circumstances changed.                     23   they did what they did, so you could apply it
24           Q. Good point.                                   24   to other BP rigs?
25              You testified yesterday that the              25       A. That's correct.
                                                                                   3 (Pages 481 to 484)
                             PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 36 of 82

                                                     485                                            487
 1       Q. Turn to Tab 3, please. Tab 3 is          1         to speed from his thoughts.
 2   a PowerPoint Presentation. I believe it was
 3   cre -- created by Mr. Sims. Do you recall
 4   who created this PowerPoint Presentation?
 5       A. I don't know who created it, but
 6   I believe that this is the PowerPoint
 7   Presentation -- can I look at it real quick?
 8       Q. Sure.
 9       A. (Reviewing document.) I believe
10   this is the -- the presentation that David    1
11   gave me some datapoints or -- presentation or
12   around -- for our rig visit out to the
13   HORIZON.
14       Q. Okay.
15       A. I don't know who -- I don't know
16   if he was the one that personally put it
17   together, though.
18       Q. All right. The document is
19   BP-HZN-MBI00129014, and I want you to turn to
20   the third page, where it talks about "Talking
21   Points for the Horizon Rig Visit," and
22   there's a number of things listed there
23   that -- "Hallmarks of Horizon team," and the
24   first one is: "Genuine concern for the
25   health, safety and environment - not just
                                                     486                                            488
 1   ticking the box." Did you agree with that?
 2       A. That was one of the things
 3   that -- from David's perspective, that was
 4   one of the things he felt like that they had.
 5   And -- and, again, that was what I wanted to
 6   go out and visit with the Team about.
 7       Q. Okay. So these -- the -- the
 8   statements in here are -- are David's
 9   perspectives, and you wanted to go out to
10   the -- to the rig to determine whether they           1
11   were, in fact, true?
12       A. Yes. As I said yesterday and
13   have said throughout all of this, I had the
14   opportunity to go to either the DDIII or the
15   HORIZON, and I wanted to go out to the
16   HORIZON because it was the best-performing
17   rig we had, from a safety and a drilling
18   performance standpoint, and wanted to
19   understand -- again, as any Leader, I think,
20   would -- what good looks like, so that we can
21   apply lessons to our other rigs.
22       Q. Okay.
23       A. And so these were his -- his
24   things that he put together to kind of
25   facilitate the conversation and bring me up
                                                                                   4 (Pages 485 to 488)
                         PURSUANT TO CONFIDENTIALITY ORDER
                    Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 37 of 82

                                                                       1                                                                                 3
                         UNITED STATES DISTRICT COURT                       1             A P P E A R A N C E S (Continued)
                                                                            2
                         EASTERN DISTRICT OF LOUISIANA                      3   APPEARING FOR WEATHERFORD:
                                                                                    Mr. Wayne G. Zeringue, Jr.
             IN RE: OIL SPILL      ) MDL NO. 2179                           4       JONES, WALKER, WAECHTER, POITEVENT, CARRERE &
                                                                                    DENEGRE, L.L.P.
             BY THEOIL RIG       )                                          5       201 St. Charles Avenue
             "DEEPWATER HORIZON" IN ) SECTION "J"                                   New Orleans, Louisiana 70170
                                                                            6
             THE GULF OF MEXICO, ON )                                           APPEARING FOR DRIL-QUIP, INC.:
             APRIL 20, 2010     ) JUDGE BARBIER                             7       Ms. Margaret Bryant
                            ) MAG. JUDGE SHUSHAN                                    WARE, JACKSON, LEE & CHAMBERS
                                                                            8       America Tower, 42nd Floor
                                                                                    2929 Allen Parkway
                     ****************************************               9       Houston, Texas 77019-7101
03:26                  ORAL AND VIDEOTAPED DEPOSITION OF                   10   APPEARING FOR MOEX OFFSHORE 2007, L.L.C., and MOEX USA:
                                                                                    Mr. Edward Flanders
                            VINCENT PRICE                                  11       PILLSBURY
                            JUNE 20, 2011                                           1540 Broadway
                     ****************************************              12       New York, New York 10036
                                                                           13   APPEARING FOR M-I SWACO:
                                                                                    Mr. John C. Funderburk
                                                                           14       MORGAN, LEWIS & BOCKIUS, L.L.P.
                                                                                    1000 Louisiana Street, Suite 4000
                                                                           15       Houston, Texas 77002-5006
                                                                           16   APPEARING FOR THE UNITED STATES:
                                                                                    Mr. Stephen G. Flynn
                                                                           17       U.S. DEPARTMENT OF JUSTICE
                                                                                    TORT BRANCH, CIVIL DIVISION
                                                                           18       1425 New York Avenue, N.W.
                                                                                    Suite 10100
                                                                           19       Washington, D.C. 20005
                                                                                    Post Office Box 14271
                                                                           20       Washington, D.C. 20044-4271
                                                                           21   APPEARING FOR BOB KALUZA:
                                                                                    Mr. Dane Ball
                     Deposition of VINCENT PRICE, taken at Pan             22       GERGER & CLARKE
             American Life Center, 601 Poydras Street, Room                         1001 Fannin Street, Suite 1950
             Bayou 1/2, New Orleans, Louisiana, on the 20th of June,       23       Houston, Texas 77002
                                                                           24   ALSO PRESENT:
             2011.                                                                  Mr. Mark Hendrix, Videographer
                                                                           25

                                                                       2                                                                                 4
         1             APPEARANCES                                          1                      INDEX
         2                                                                  2
         3   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:                             VIDEOTAPED ORAL DEPOSITION OF
                 Mr. Michael C. Palmintier                                  3                  VINCENT PRICE
         4       Mr. Jonathan Williams                                                        JUNE 20, 2011
                 DEGRAVELLES, PALMINTIER, HOLTHAUS & FRUGÉ                  4
         5       618 Main Street                                            5                                            PAGE
                 Baton Rouge, Louisiana 70801-1910                              Appearances . . . . . . . . . . . . . . . . . . . . 2
         6                                                                  6
             APPEARING FOR BP, INC.:                                            VINCENT PRICE
         7       Mr. Walter R. Lancaster                                    7   Examination by Mr. Palmintier . . . . . . . . . . . 6
                 KIRKLAND & ELLIS                                               Examination by Mr. Thibodeaux . . . . . . . . . . . 130
         8       333 South Hope Street                                      8   Examination by Mr. Hill . . . . . . . . . . . . . . 184
                 Los Angeles, California 90071                                  Examination by Mr. Fitch . . . . . . . . . . . . . . 235
         9                                                                  9   Examination by Mr. Flanders . . . . . . . . . . . . 240
                 Ms. Alyssa Qualls                                              Further Examination by Mr. Palmintier . . . . . . . 242
        10       KIRKLAND & ELLIS                                          10
                 300 North LaSalle
                                                                                Signature and changes . . . . . . . . . . . . . . . 290
        11       Chicago, Illinois 60654                                   11   Reporter's Certificate . . . . . . . . . . . . . . . 292
        12   APPEARING FOR TRANSOCEAN:
                                                                           12
                 Mr. Paul C. Thibodeaux
                                                                                                   EXHIBITS
        13       Ms. Mary K. Klinefelter
                                                                           13
                 FRILOT
        14       1100 Poydras Street, Suite 3600                                                                   PAGE
                 New Orleans, Louisiana 70163                              14   EXHIBIT NO. 3056 . . . . . . . . . . . . . . . . . . 185
        15                                                                          Module 1: Weather; Location: Deepwater
             APPEARING FOR ANADARKO PETROLEUM COMPANY:                     15       Horizon; Dates of Observation: 3/31/2010 -
        16       Mr. Patrick A. Harvey                                              4/14/2010; Candidate: Vincent Price; Mentor
                 Mr. Warren Anthony Fitch                                  16       or WSL: Earl Lee, Murray Sepulvado, Ronnie
        17       BINGHAM MCCUTCHEN                                                  Sepulva do; Coach: Martin Breazeale;
                 2020 K Street, Northwest                                  17       BP-HZN-2179MDL02307175,07176,07178, 07180
        18       Washington, D.C. 20006-1806                                        07182
        19   APPEARING FOR HALLIBURTON:                                    18
                 Mr. Gavin Hill                                                 EXHIBIT NO. 3057 . . . . . . . . . . . . . . . . . 185
        20       Mr. Prescott Smith                                        19       April 10, 2010 E-mail from Murry Sepulvado
                 GODWIN RONQUILLO                                                   with attachment; BP-HZN-2179MDL02307033 -
        21       1201 Elm Street, Suite 1700                               20       07035
                 Dallas, Texas 75270-2041                                  21   EXHIBIT NO. 3058 . . . . . . . . . . . . . . . . . 201
        22                                                                          Deepwater Cementing Guidelines;
                  Ms. Carmelite M. Bertaut                                 22       BP-HZN-2179MDL00779762 - 79794
        23        Ms. Lauren Godshall                                      23   EXHIBIT NO. 3059 . . . . . . . . . . . . . . . . . 223
                  STONE PIGMAN WALTHER WITTMAN                                      Gulf of Mexico SPU; Recommended Practice
        24        546 Carondelet Street                                    24       for Cement Design and Operations in DW GoM;
                  New Orleans, Louisiana 70130-3588                                 BP-HZN-2179MDL02222199 - 22234
        25                                                                 25

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                                           133                                                           135




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 :10




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                                           134                                                           136




1:11
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1:09   1                                         1




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                                                 18      Q.         In your time on the -- on the Deepwater
                                                 19   Horizon, you had an opportunity to get to know some of
1:                                               20   the Transocean personnel on the rig, correct?
                                                 21      A. That's correct, yeah.
                                                 22      Q. Did you know Paul Johnson?
                                                 23      A. Name doesn't -- doesn't strike -- ring a bell
                                                 24   with me.
1:                                               25      Q. You didn't know Paul Johnson. Do you know

                                                                        34 (Pages 133 to 136)
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                                                               137                                                         139
        1   Jimmy Harrell?
        2      A. I do.
        3      Q. And -- and who was Jimmy?
        4      A. He was the -- one of the OIMs.
1:13
1:12    5      Q. Okay. Do you know Randy Ezell?
        6      A. I know the name. I've never met the guy.
        7      Q. Do you know what his job was?
        8      A. If I'm not mistaken, he was a tool pusher,
        9   senior tool pusher, something like that.
1:
1:     10      Q. Do you know Jason Anderson?
       11      A. I just know the name. I never met him.             11      Q. Okay. And you never raised any issues with --
       12      Q. Never met him. Do you know Dewey Revette?          12   with anybody from Transocean regarding any of the rig
       13      A. I do.                                              13   crew, correct?
       14      Q. What was his job?                                  14      A. I did not.
1:13
1:12   15      A. He was a driller.                                  15      Q. No member of the Transocean rig crew while you
       16      Q. Do you know Stephen Curtis?                        16   were on board the Deepwater -- Deepwater Horizon
       17      A. I do.                                              17   exhibited behavior that led you to believe that they
       18      Q. What was his job?                                  18   were callus or indifferent as to the safety of
       19      A. He was an assistant driller.                       19   individuals or the environment, correct?
1:14
1:12   20      Q. Do you know Don Clark?                             20      A. That is correct.
       21      A. Yes.
       22      Q. What was his job?
       23      A. Assistant driller.
       24      Q. Do you know Captain Kuchta?
1:
1:     25      A. "Curt," is that --
                                                               138                                                         140
        1      Q. Yeah.
        2      A. Yes.
        3      Q. "Captain Curt." Okay. In your time that you
        4   spent on the Deepwater Horizon, you were comfortable
1:12
1:14    5   with the comp- -- competency of the rig crew, correct?
        6      A. I was.
        7      Q. You didn't have any complaints about the --
        8   the gentlemen I just mentioned, correct?
        9      A. The ones that I know, I didn't have any
1:12
1:14   10   complaints. The ones that I haven't met, I don't have    1
       11   an opinion one way or the other.
       12      Q. Okay. As a well site leader, in fact, if you
       13   weren't comfortable with the competency of anyone on
       14   board the Deepwater Horizon, you could have shut the job
1:13
1:15   15   down, correct?
       16      A. As a Well Site Leader of the Future on board
       17   the Deepwater Horizon, yes.


 :




                                                                                           35 (Pages 137 to 140)
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                Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 40 of 82

                                                               141                           143




1:16
1:18




1:16
1:18




1:16
1:19   15      Q.         So when you left the rig on
       16   approximately April 11th, 2010 you weren't aware of any
       17   outstanding safety critical audit items that had not
       18   been addressed yet, correct?
       19      A. That's correct.
1:




                                                               142                           144
                                                                       1



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1:17                                                                   5
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 :19
1:17   1                                                              10
                                                                      11



                                                                      14
 :20
1:18




                                                               ?
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                                                                                                    291

      1                 I, VINCENT PRICE, have read the foregoing
          deposition and hereby affix my signature that same is
      2   true and correct, except as noted above.


                                                ~~-
      3
      4
                                            VINCENT PRICE
      5

      6   STATE OF T E X A S
          COUNTY Of 'fUAWtv...
     7
                        •
     8                  Be f ore me, Mil..\.i7J='iwe=.l.4_-,A~{,.a.h-,-,1rs~n_ _ _ _ _ _ , on
          this day personally appeared VINCENT PRICE, known to me,
     9    or proved to me under oath or through
            ~tDl                ) (description of identity card or
    10    other document)), to be the person whose name is
          subscribed to the foregoing instrument and acknowledged
    11    to me that they executed the same for the purposes and
          consideration therein expressed.
    12
                                  Given under my hand and seal of office on
    13    this, the         I         day of ~                  s±                  , 1A I {
    14
    15


    16
                                            w1tJJ Jkbk,
                                            NOTARY PUBLIC IN AND FOR THE
                                            STATE OF TEXAS
    17
          My Commi.ssion Expires:                    -=/.J-,-,IZ6""",+-L4"7&~jl,-,,2~'_ _~_ _ _~.
    18
    1.9
                                MICHAel ASHTON
    20                   Notary Public. Slate 01 lexa$
                           MV Commission Exp"";!$
    21                           June 20.2012
    22
    23
    24
    25



                         PURSUANT TO CONFIDENTIALITY ORDER
              Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 42 of 82
In Re: OIL SPILL by the "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                      Reported by:

DAVID A. RICH                                                              June 1, 2011 JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                    Page 1
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



              IN RE: OIL SPILL                          MDL NO. 2179
              BY THE OIL RIG
              "DEEPWATER HORIZON"                       SECTION:            J
              IN THE GULF OF
              MEXICO, ON APRIL                          JUDGE BARBIER
              20, 2010                                  MAG. JUDGE SHUSHAN




                   Deposition of DAVID A. RICH, taken
            in the Pan American Life Center, Bayou
            Room, 11th Floor, 601 Poydras Street, New
            Orleans, Louisiana 70130, on Wednesday,
            June 1, 2011.


            APPEARANCES:



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                                and Christine E. Sevin,
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                                                                                                       fcef76a1-133f-42a1-877a-ea5d46bee3c5
              Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 43 of 82
In Re: OIL SPILL by the "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                      Reported by:

DAVID A. RICH                                                              June 1, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                        Page 378                                    Page 380




 18        Q. Specifically, are you aware of
 19     any evidence that would support a
 20     conclusion that any Transocean employee or
 21     manager involved in the Macondo Prospect
 22     ever deliberately wanted to cause injury to
 23     the environment or any person?
 24        A. Can you repeat the question
 25     again? They're kind of getting all rolled
                                                                        Page 379                                    Page 381
  1     into the same thing.
  2         Q. Well, it is. It's the same
  3     question, but this is specifically limited
  4     to Transocean employees or management.
  5         A. Sure. Okay.
  6         Q. Are you aware of any evidence
  7     that would support a conclusion that any
  8     Transocean employee or manager deliberately
  9     wanted to cause injury to the environment
 10     or to any person?
 11         A. No, sir.
 12         Q. Same question with regard to any
 13     Transocean employee or manager acting
 14     maliciously, or not caring about causing
 15     injury to another human or the environment?
 16         A. No, sir.
 17         Q. The same question with regard to
 18     any Transocean employee or manager
 19     willfully inflicting harm on any person or
 20     on the environment?
 21         A. No, sir.




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                                                         1                                                              3
           UNITED STATES DISTRICT COURT                       1   Mr. Alex Roberts
                                                                  BECK REDDEN & SECREST
           EASTERN DISTRICT OF LOUISIANA                      2   One Houston Center
                                                                  1221 McKinney Street, Suite 4500
     IN RE: OIL SPILL       ) MDL NO. 2179                    3   Houston, Texas 77010
     by the OIL RIG,      )                                              APPEARING FOR CAMERON
                                                              4
     DEEPWATER HORIZON in ) SECTION "J"                           Mr. Lucas Elliot
     the GULF OF MEXICO, )                                    5   Ms. Lauren Mitchell
     April 20, 2010     ) JUDGE BARBIER                           MORGAN LEWIS
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                                                                  Houston, Texas 77002
                    ) MAG. JUDGE                              7           APPEARING FOR M-I SWACO
                    ) SHUSHAN                                 8   Ms. Wendy Ware Bishop
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          Registered Professional Reporter                   22   755 Parfet Street, #151
          Registered Merit Reporter                               Lakewood, Colorado 80226
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                                                             24   ALSO PRESENT:
                                                             25   Kayla Barnes, Videographer

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             APPEARING FOR HALLIBURTON
24                                                           24
25                                                           25

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                                                    133                                                      135
                                                           1   you receive an orientation?
                                                           2       A. On my October visit, yes.
                                                           3       Q. And that's because that was your
                                                           4   first time on the trip, and you understand, then,
                                                           5   when people board the rig for the first time,
                                                           6   they have to go through an orientation, right?
                                                           7       A. Yes. That's Transocean's policy.
                                                           8       Q. Okay. In your view, was that
                                                           9   orientation conducted in a professional manner?
1                                                         10       A. Yes.
                                                          11       Q. As part of that orientation, were
                                                          12   you provided information regarding emergency and
                                                          13   evacuation procedures on the rig?
                                                          14       A. Yes. We were given a pamphlet with
                                                          15   regards to what state room we were in and which
                                                          16   were our primary and secondary lifeboat stations.
                                                          17       Q. Okay. And were you satisfied from
                                                          18   that orientation, including the materials that
                                                          19   you got, that those procedures were thorough and
                                                          20   that they prepared you in the event there was an
                                                          21   emergency on the rig?
                                                          22       A. Yes.
                                                          23       Q. Okay. Now, in your two experiences
                                                          24   on the rig, did you ever see what you considered
                                                          25   to be what you felt was an unsafe operation that
                                                    134                                                      136
                                                           1   endangered yourself or any of the members on the
 2       Q. Now, I understand from your                    2   rig?
 3   testimony earlier today that you had been on the      3       A. No.
 4   Deepwater Horizon on two occasions. Is that           4       Q. Did you ever see any member of the
 5   right, sir?                                           5   Deepwater Horizon crew acting in a way that was
 6       A. That is correct.                               6   reckless with regard to the safety of other human
 7       Q. Once in October of 2009 and then               7   beings?
 8   again in late March 2010; is that right?              8       A. I did not see that behavior.
 9       A. That is correct.                               9       Q. I'm going to go through a series of
10       Q. Okay. Did you ever sleep on the               10   these questions, and I appreciate your patience.
11   rig? In other words, were they just day trips,       11   They may sound somewhat similar, but they're
12   or did you spend the night?                          12   going to be a little different. So if you have
13       A. We spent the night on both                    13   any questions about them, let me know.
14   occasions.                                           14       A. I sure will.
15       Q. Okay. Did you feel safe when you              15       Q. How about with respect to the
16   were onboard the rig, sir?                           16   environment, did you ever see a member of the
17       MR. DART: Objection to form.                     17   crew acting recklessly toward the environment in
18       COURT REPORTER: I'm sorry?                       18   any way?
19       MR. DART: Object to the form.                    19       A. No, sir.
20       COURT REPORTER: Remind me your name,             20       Q. Have you ever heard anyone at BP say
21   please.                                              21   that they saw any member onboard the Deepwater
22       MR. DART: Dart.                                  22   Horizon act in a way that was reckless with
23       THE WITNESS: Yes.                                23   regard to the safety of other human beings?
24   BY MR. JOHNSON:                                      24       A. No, sir.
25       Q. Okay. When you boarded the rig, did           25       Q. And is the same true with respect to
                                                                               34 (Pages 133 to 136)
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                                                   137                                                        139
 1   the environment, never heard anyone say that --      1   during both of your visits?
 2   anything about environment, either; is that          2       A. It so happened, yes.
 3   right?                                               3       Q. Okay. I mean, I know that there's
 4       A. That is correct.                              4   different hitches, and so --
 5       Q. Okay. Now, on any of your -- on               5       A. Absolutely.
 6   your two visits to the Deepwater Horizon, did you    6       Q. -- just wanted to clarify. He was
 7   ever see any member of the Deepwater Horizon crew    7   the one out there during both trips, as best you
 8   act with what you would regard as malice or          8   recall?
 9   indifference towards the safety of other human       9       A. That is correct.
10   beings?                                             10       Q. Okay. Did he seem professional in
11       MR. HILL: Object to the form.                   11   your interactions with him?
12       THE WITNESS: No.                                12       A. Yes.
13   BY MR. JOHNSON:                                     13       Q. Okay. Did he strike you as
14       Q. And same with respect to the                 14   knowledgeable about his job in the manner in
15   environment, did you ever see any member of the     15   which he interacted with you?
16   Deepwater Horizon crew on your visits act in a      16       A. Can you -- can you just rephrase
17   way that you would consider characterized as        17   that question?
18   malice or indifference toward the environment?      18       Q. Yes.
19       MR. HILL: Object to the form.                   19       A. Specify it.
20       THE WITNESS: No.                                20       Q. Yeah. Just -- and I know you may
21   BY MR. JOHNSON:                                     21   not know all the aspects of his job, and I
22       Q. Did ever anyone characterize any             22   wouldn't ask you to comment on that. But just in
23   action on any member of the Deepwater Horizon       23   his dealings with you and any discussions you had
24   crew in such a way that it would be considered      24   about the rig, did he seem knowledgeable?
25   malicious or indifferent toward the safety of       25       MR. DART: Object to the form.
                                                   138                                                        140
 1   other human beings?                                1         THE WITNESS: In my conversations with him
 2       A. No.                                         2     concerning the marine items, I felt he was
 3       MR. HILL: Object to the form.                  3     knowledgeable.
 4   BY MR. JOHNSON:                                    4     BY MR. JOHNSON:
 5       Q. And what about environment, did you         5         Q. Okay. Did he ever strike you as
 6   ever hear anybody say that?                        6     nonchalant about safety or acted as if he didn't
 7       MR. COLLIER: Object to the form.               7     care about safety?
 8       THE WITNESS: Can I just clarify this?          8         A. I did not observe that behavior from
 9   This is pertaining to my visits?                   9     him.
10   BY MR. JOHNSON:                                   10         Q. In terms of the audit work and the
11       Q. Yeah. Did you ever hear anyone else        11     follow-up issues that you were on the rig for, in
12   say that?                                         12     your interactions with him, did you feel as if
13       A. No.                                        13     those were issues that were important to him?
14       Q. Okay. Now, I know during your              14         A. In my dealings with not only the OIM
15   visits, you had the opportunity to interact with  15     and the captain and the rest of the staff
16   some members of the Deepwater Horizon crew. Is 16        onboard, I did not see any indication that they
17   that right?                                       17     did not take the findings -- the marine findings
18       A. That is correct.                           18     serious. They were really intent on addressing
19       Q. Okay. And had you ever had occasion        19     those findings.
20   to meet a gentleman by the name of Jimmy Harrell? 20         Q. What about -- did you ever have
21       A. Yes. He was the OIM --                     21     occasion -- and I appreciate that response, and
22       Q. Okay.                                      22     it was broader than the OIM. I'm going to ask
23       A. -- at the time.                            23     about some specific people, and you may have
24       Q. Was he the OIM on both of your -- in       24     meant to address them in that answer.
25   other words, was he the OIM onboard the rig       25         A. Okay.
                                                                               35 (Pages 137 to 140)
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                                                   141                                                      143
 1       Q. I just wanted to clarify for the              1   suggest this we'll go through in a minute. But
 2   record.                                              2   you had some interactions with him beyond just
 3       A. Understood.                                   3   those two visits on the rig; is that fair?
 4       Q. Did you ever have occasion to                 4       A. Yeah. On several occasions, I would
 5   interact with a person named Curt Kuchta?            5   get updates from him via telephone --
 6       A. Yes. He was the captain.                      6       Q. Okay.
 7       Q. Okay. Do you recall if he was the             7       A. -- after some of the morning
 8   captain -- because I know there are different        8   meetings that were held at the office.
 9   hitches.                                             9       Q. And some of those updates, those
10       A. Sure.                                        10   would have been -- because you made two visits
11       Q. Was he onboard the rig during both           11   out rig, one in October, one in late March.
12   of your visits, the one in October and then the     12   These were updates in between those periods so
13   one in March?                                       13   that --
14       A. Yes, he was.                                 14       A. That is correct.
15       Q. Okay. So just coincidentally, he             15       Q. -- you could keep tabs on the
16   happened to be there on both of those visits,       16   progression of closing items out. Is that a fair
17   like Jimmy Harrell was, right?                      17   characterization?
18       A. Correct, sir.                                18       A. That is a fair characterization,
19       Q. Okay. And based on your                      19   yes.
20   interactions with Captain Kuchta, did you find      20       Q. In any of your interactions with
21   him to be professional?                             21   Captain Kuchta, either on the rig or in
22       A. Yes, he was professional.                    22   conversations with him, was there ever anything
23       Q. In your interactions with him -- and         23   that led you to question his competency or
24   I'm not asking you to comment about anything        24   fitness for the job?
25   broader than that. Just based on your               25       A. No.
                                                   142                                                      144
 1   interactions with him, did you find him to be        1       Q. Now, more generally --
 2   someone that struck you as knowledgeable about       2       A. Okay.
 3   his job?                                             3       Q. During your experiences with the rig
 4       A. Yes.                                          4   management, did you feel confident that the
 5       Q. Okay. Based on your interactions              5   people in charge of the rig, whether Captain
 6   with him, did you ever have any reason to believe    6   Kuchta, Jimmy Harrell, or the shore-based
 7   that safety was something that wasn't important      7   management, Paul Johnson, who I think you said
 8   to Captain Kuchta?                                   8   you had interacted with, did you, in your
 9       A. No, I did not observe that behavior           9   interactions with them, feel that this rig was
10   from him.                                           10   being managed by people that were safety
11       Q. And the same question I asked with           11   conscious?
12   respect to the OIM Jimmy Harrell, in the context    12       MR. COLLIER: Object to the form.
13   of your interactions with Captain Kuchta with       13       THE WITNESS: They were safety conscious.
14   your -- with the follow-up efforts and verifying    14   BY MR. JOHNSON:
15   that certain items in the audits were closed out,   15       Q. Now, I want to ask you a little bit
16   did you find Captain Kuchta's approach to those     16   about the crew of the Deepwater Horizon. And I
17   issues to reflect that he considered them           17   know that you're not going to know every member
18   important?                                          18   of the crew, and there will be some aspects of
19       A. Yes.                                         19   the Deepwater Horizon crew which you may not have
20       Q. Okay. Based on your personal                 20   any knowledge of. And so if I ask you something
21   interactions -- and I understand he was on the      21   that you don't have any knowledge of, I know
22   rig during your two visits.                         22   you'll tell me.
23       A. Yes.                                         23       A. Okay.
24       Q. And then as I understood your                24       Q. But I think, based on your testimony
25   testimony -- and there may be some documents that   25   earlier today and some of the documents that I've
                                                                              36 (Pages 141 to 144)
                         PURSUANT TO CONFIDENTIALITY ORDER
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                                                   145                                                      147
 1   read, you had occasion to deal not only with         1       A. Yes.
 2   Mr. Harrell and Captain Kuchta --                    2       Q. With regard to the maintenance
 3       A. Yes.                                          3   supervisor. . .
 4       Q. -- and Paul Johnson, but I think              4       A. Okay.
 5   that you also -- and you tell me if I'm wrong. I     5       Q. And I may not be able to get too
 6   think you also had occasion to deal with the         6   detailed, since you don't have a specific name in
 7   chief mate and the maintenance supervisor. Is        7   mind. But was there anything that stands out,
 8   that right?                                          8   that you're aware of today, that caused you
 9       A. Can you state their names?                    9   concerns about the competency of the maintenance
10       Q. Well, do you recall any of the names         10   supervisor that you had interactions with?
11   of any of the individuals beyond those that we've   11       A. No, I can't speak to that.
12   talked about?                                       12       Q. Okay. As far as you know, your
13       A. I remember interacting with Michael          13   interactions with him didn't lead you to any
14   Dowd, who was the chief mate.                       14   other conclusions other than they were also
15       Q. All right. Do you remember                   15   safety conscious; is that fair?
16   interacting with a gentleman named Steve Bertone    16       MR. DEGRAVELLES: Object to the form.
17   at any time?                                        17       MR. HILL: Object to the form.
18       A. I don't recall, sir.                         18   BY MR. JOHNSON:
19       Q. Okay.                                        19       Q. They didn't like that question.
20       A. I do not recall.                             20       A. Can repeat your question one more
21       Q. If I suggested to you that the               21   time?
22   maintenance supervisor was a gentleman named        22       Q. I'll accept the first one I got from
23   Steve Bertone, does that refresh your memory at     23   you. It will be fine.
24   all?                                                24       A. Okay.
25       A. No.                                          25       Q. We talked a little bit about
                                                   146                                                      148
 1       Q. Fair enough. Do you know if you               1   Paul Johnson.
 2   interacted with the maintenance supervisor, even     2       A. Yeah.
 3   though you may not recall a name or a face?          3       Q. And he was the rig manager for
 4       A. Yes, I did.                                   4   operations for Transocean; is that right?
 5       Q. Okay. Now, with respect to Mr.                5       A. That's correct.
 6   Dowd, you said that was the chief mate that you      6       Q. And in addition to interacting with
 7   recall having some interaction with; is that         7   the individuals that were on the rig, you had
 8   right?                                               8   fairly regular communication with Mr. Johnson
 9       A. Yes, on both visits.                          9   throughout this process of completing audit items
10       Q. So he -- like Mr. Harrell, like              10   after the September 2009 BP audit; is that right?
11   Captain Kuchta, he was someone that was on the      11       A. That is correct.
12   rig during both of your visits, the one in          12       Q. Was he -- based on your experiences
13   October and the one in March, right?                13   with him, was he someone that was supportive of
14       A. That is correct.                             14   the rig and the efforts to close out these items?
15       Q. Okay. Now, in terms of Mr. Dowd and          15       A. Yes, he was.
16   your interactions with him, did he ever give you    16       Q. Was he receptive to your comments
17   any reason to believe that he wasn't competent?     17   and your looking to him for feedback on how to
18       A. No.                                          18   get these items closed?
19       Q. Did he ever give you any reason to           19       A. Yes, he was.
20   believe that he didn't take safety seriously?       20       Q. Okay. You felt like he was
21       A. No, I did not observe that behavior.         21   cooperative and constructive in trying to address
22       Q. In fact, did you -- in your                  22   these issues; is that fair?
23   interactions with him, would it be fair to say      23       A. Yes.
24   that you believe he was someone that was safety     24       Q. And I think you may have answered
25   conscious?                                          25   this, but he was someone that struck you as a
                                                                              37 (Pages 145 to 148)
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                                                      149                             151
    1   safety conscious individual; is that right?
    2       A. Yes.
    3




1                                                           1




                                                      150                             152




1                                                           1




                                                                38 (Pages 149 to 152)
                              PURSUANT TO CONFIDENTIALITY ORDER
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                                                         153                                   155




 6       Q. Fair enough. At the time the rig
 7   went back into service, were you personally aware
 8   of any condition on the rig, based on any
 9   knowledge that you had from any source, that
10   rendered it unsafe?                                       1
11       A. No. I -- no.




                                                         154                                   156




                                                               1




                                                                                         ?
                                                               25   MR. JOHNSON: Yeah.
                                                                             39 (Pages 153 to 156)
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                                           5       Q. Okay. Now, as part of your visit on
                                           6   October the 20th, 2009, you obviously met with
                                           7   what you refer to as the leadership team onboard
                                           8   the Deepwater Horizon. Did I read that
                                           9   correctly?
1                                         10       A. Yes, that's correct.
                                          11       Q. Now, as part of this visit, you went
                                          12   and you obtained personal knowledge about the
                                          13   updates you had been receiving following the
                                          14   decision by BP in September of 2009; is that
                                          15   right?
                                          16       A. Yes.
                                          17       Q. Okay.
                                          18       A. Yes.
                                          19       Q. And according to your e-mail, based
                                          20   on your personal observations, you concluded that
                                          21   the rig crew had been rigorously closing out the
                                          22   findings, isn't that right, Mr. Rodriguez?
                                          23       A. Yes. I stand by that, yes.
                                          24       Q. Now, for the items that had not --
                                          25   and I understand not all the items had been
                                                               41 (Pages 161 to 164)
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                                                  165                              167
 1   closed out by that point. True?
 2       A. No. There were a great majority
 3   that weren't.
 4       Q. Now, you left satisfied, though,
 5   that those items that had not been closed out,
 6   there was a commitment and path forward to get
 7   those resolved. True?
 8       A. Yes, there was. I saw that
 9   commitment through my dealings with the crew
10   onboard the Horizon.                              1
11       Q. They seemed -- and you addressed
12   those individually with them, did you not, sir?
13       A. Absolutely I did.
14       Q. And you walked away convinced when
15   you left the rig that if those items had not been
16   remedied, that Transocean gave you a clear path
17   to how they were going to fix those, right?
18       A. Right. They had action plans in
19   place.




                                                  166                              168




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                                                            42 (Pages 165 to 168)
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                                                     169                                                          171
                                                               1   wouldn't hesitate to raise that, would you, sir?
                                                               2      A. No, I would not.
                                                               3      Q. And you didn't see anything that
                                                               4   made you concerned, did you?
                                                               5      A. No, not at that time.
                                                               6      Q. Okay. And you didn't during the
                                                               7   March 29th trip, did you?
                                                               8      A. No.

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                                                                                                                      e
                                                     170                                                          172




                                                           1

12                    You go out to that rig, and you've
13   got a list of things that you're going to verify.
14   And I understand that's that primarily what you
15   do. Right?
16       A. Yes.
17       Q. Now, you don't have -- you don't
18   have blinders on, true?
19       A. That is correct.
20       Q. Now -- and I know you're not looking
21   specifically for other things. But my question
22   to you, sir, is, since you're out there on behalf
23   of BP, if you saw something marine related that
24   maybe wasn't on your checklist, but it was marine
25   related, and you said, "That's unsafe," you
                                                                                  43 (Pages 169 to 172)
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                                    177                                                      179




                                           4        Q. But my question, like the October
                                           5   visit before, was, in your role, you would not
                                           6   hesitate to bring up an issue if you felt there
                                           7   was an unsafe marine condition that you saw, even
                                           8   if it was outside of that spreadsheet; is that
                                           9   true?
1                                         10        A. That is true.
                                          11        Q. And you didn't see anything on your
                                          12   tour of the vessel; is that fair?
                                          13        A. Not on my March visit, no.




                                          25           One of the things you say in your
                                    178                                                      180
                                           1   March the 30th, 2010, e-mail after you boarded
                                           2   the rig, had this meeting, took a tour throughout
                                           3   the vessel, is, you indicate, "I wanted to
                                           4   mention that the Horizon's crew completed 63 out
                                           5   of 70 findings in a five-month period, which is
                                           6   commendable." Did I read that right?
                                           7       A. Yes, you did.
                                           8       Q. Now, the reason I printed the
                                           9   checklist out in color, or the spreadsheet,
1                                         10   rather, is because the next sentence says, "The
                                          11   remaining findings that are highlighted in yellow
                                          12   are awaiting parts that are on order with
                                          13   attached order numbers are tracked in the RMS II
                                          14   system." Did I read that right?
                                          15       A. That is correct.
                                          16       Q. Okay. So it's kind of helpful to
                                          17   have a sheet that's got some color on it as --
                                          18       A. Yes, sir.
                                          19       Q. -- opposed to black and white?
                                          20            What I'd like for you to do is to
                                          21   look through -- and I know we've kind of gone
                                          22   through some of them already, so I don't know how
                                          23   long it will take. But just kind of look through
                                          24   and familiarize yourself a little bit with those
                                          25   items that are highlighted in yellow.
                                                               45 (Pages 177 to 180)
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                                                  181                              183
 1       A. Okay.
 2       Q. Just to kind of get a feel for what
 3   they are, and then I'll pose my questions to you.
 4       A. (Reviews document.) Okay.
 5       Q. After I ask my question, if you need
 6   to go back and look at those in any more detail,
 7   we can do that.
 8       A. Okay.
 9       Q. Would it be fair to say,
10   Mr. Rodriguez, that you were satisfied that those 1
11   seven items, though unresolved, had a sufficient
12   action plan to get them taken care of?
13       A. Yes.
14       Q. Okay. And would it also be fair to
15   say that you were satisfied that those issues,
16   though unresolved, didn't mean the rig was going
17   to be unsafe or unseaworthy?
18       A. No.
19       Q. It will be fair to say that you were
20   satisfied the rig could operate safely and be
21   seaworthy, even despite these issues not being
22   resolved; is that true?
23       MR. DART: Object to the form.
24       THE WITNESS: Yes.

                                                  182                              184




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                                                            46 (Pages 181 to 184)
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                                          13       Q. How many DB vessels have you ever
                                          14   been on?
                                          15       A. MODUs? In general?
                                          16       Q. Drill ships, anything. Anything of
                                          17   that nature, vessels, that conduct drilling
                                          18   operations.
                                          19       A. Over 20.
                                          20       Q. Have you ever been on a rig -- or
                                          21   any of those 20 vessels that was in perfect
                                          22   condition?
                                          23       A. No.
                                          24       Q. The Deepwater Horizon, on the two
                                          25   visits you made, it wasn't in perfect condition,
                                                                48 (Pages 189 to 192)
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                                                    193                            195
 1   either, was it?
 2       A. No. And I don't believe any rig is
 3   in perfect condition.
 4       Q. But despite not being in perfect
 5   condition, based on the two trips that you made,
 6   would it be fair to say that you what you saw
 7   with your own eyes led you to believe that that
 8   rig could operate in a safe manner?
 9       A. From a marine standpoint, yes.
10                                                        1




                                                    194                            196




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                                                              49 (Pages 193 to 196)
                          PURSUANT TO CONFIDENTIALITY ORDER
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                                                                           227


     1                      SIGNATURE PAGE
     2

                  I, ANGEL RODRIGUEZ, have read the
     3   foregoing deposition and hereby affix my
         signature that same is true and correct, except
     4   as noted on the correction page.
     5

     6
                           ~'7t7",-1____             ----,="."




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                   PURSUANT TO CONFIDENTIALITY ORDER
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In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

MURRY SEPULVADO VOL. II May 12, 2011                                                           THU BUI, CCR, RPR

                                                                                                               Page 483
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                                        **************
                                            VOLUME 2
                                         **************



                       Deposition of MURRY SEPULVADO,
            taken at Pan-American Building, 601 Poydras
            Street, 11th Floor, New Orleans, Louisiana,
            70130, on the 12th of May, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                  Board-Certified Court Reporters      Facsimile:(504) 525-9109
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In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                   Reported by:

MURRY SEPULVADO VOL. II May 12, 2011                                                                             THU BUI, CCR, RPR
                                                                        Page 524                                                      Page 526




                                                                        Page 525                                                      Page 527




                                                                                           18       Q.        . In your position as the
                                                                                           19   wellsite leader on the DEEPWATER HORIZON,
                                                                                           20   you got to know the crew pretty well?
                                                                                           21       A. Yes, sir.
                                                                                           22       Q. Okay. You were asked some
                                                                                           23   questions about Paul Johnson who was the
                                                                                           24   rig manager, and you didn't know Paul that
                                                                                           25   well?

                                                                                                               12 (Pages 524 to 527)
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In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                       Reported by:

MURRY SEPULVADO VOL. II May 12, 2011                                                                                THU BUI, CCR, RPR
                                                                        Page 528                                                          Page 530
  1        A. Paul Johnson had just came on as                                              1       A. From what I know of these
  2     the manager for the DEEPWATER HORIZON a few                                         2   gentlemen, they -- they would not have.
  3     months earlier. And I've met him one time                                           3       Q. They would not have?
  4     and shook his hand. But I didn't know him                                           4       A. From -- from -- with me, they
  5     that well.                                                                          5   wouldn't have, no.
  6        Q. Okay. Did you know Jimmy                                                      6       Q. I just want to make sure the
  7     Harrell?                                                                            7   record's clear. Would not?
  8        A. Yes, I knew Jimmy Harrell.                                                    8              You -- you say wouldn't
  9        Q. Okay. Did you know Randy Ezell?                                               9   kind of quick.
 10        A. Yes, I know Randy Ezell.                                                     10       A. Yeah, would not.
 11        Q. Did you know Jason Anderson?                                                 11       Q. Were you comfortable with Jimmy
 12        A. Yes, I know Jason.                                                           12   Harrell as the OIM of the DEEPWATER
 13        Q. Did you know Dewey Revette?                                                  13   HORIZON?
 14        A. Yes, sir.                                                                    14       A. Yes, I was.
 15        Q. Steven Curtis?                                                               15       Q. Okay. Did you ever experience
 16        A. Yes, sir.                                                                    16   any indication that he was indifferent or
 17        Q. Don Clark?                                                                   17   callous towards the safety of individuals
 18        A. Yes, sir.                                                                    18   or the environment?
 19        Q. Did you know Captain Kuchta?                                                 19       A. No, I didn't.
 20        A. Yes, sir.                                                                    20       Q. Okay. You would agree with me
 21        Q. Now, you told us that                                                        21   that it was just the opposite?
 22     Ms. Martinez, Dennis Martinez's wife, was                                          22       A. He was a very conscientious OIM.
 23     actually -- actually called you and told                                           23       Q. From your experience with
 24     you about the casualty, correct?                                                   24   Mr. Harrell, what was his attitude towards
 25        A. She actually called me and told                                              25   the safety of individuals and the
                                                                        Page 529                                                          Page 531
  1     me of the event of the rig was on fire.                                             1   environment?
  2         Q. Okay. Now, knowing the                                                       2       A. Mr. Harrell was always on top of
  3     competency of the crew and the condition of                                         3   safety and safety was always number one.
  4     the rig, did it surprise you when you                                               4       Q. Okay. Were you comfortable with
  5     learned what occurred?                                                              5   Randy Ezell as the senior toolpusher on the
  6         A. Totally.                                                                     6   DEEPWATER HORIZON?
  7         Q. And why?                                                                     7       A. Yes, sir. He was one of the
  8         A. Had lots of questions, couldn't                                              8   best toolpushers I've probably ever worked
  9     understand how that -- how that could have                                          9   with.
 10     happened. Didn't know any of the facts.                                            10       Q. Did you ever experience any
 11         Q. This rig was your home away from                                            11   indication that he was indifferent and
 12     home, correct?                                                                     12   callous towards the safety of individuals
 13         A. That's correct.                                                             13   or the environment?
 14         Q. If you had any concerns about                                               14       A. No, sir.
 15     the safety of this rig, would you have                                             15       Q. Was it just the opposite with
 16     slept on it?                                                                       16   Mr. Ezell?
 17         A. No, sir.                                                                    17       A. Same.
 18         Q. The men we discussed earlier,                                               18       Q. Okay. From your experience with
 19     did any of them seem like men that would                                           19   him, what was his attitude toward the
 20     lie to you?                                                                        20   safety of individuals and the environment?
 21         A. No, sir.                                                                    21       A. Safety came first, the
 22         Q. Did they ever seem like men that                                            22   environment and personnel.
 23     would themselves hide issues that would                                            23       Q. Jason Anderson, were you
 24     subject them or anyone else to safety                                              24   comfortable with him as one of the
 25     issues on that rig?                                                                25   toolpushers?

                                                                                                                  13 (Pages 528 to 531)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                             Telephone: (504) 525-9100
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In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                         Reported by:

MURRY SEPULVADO VOL. II May 12, 2011                                                                                 THU BUI, CCR, RPR
                                                                        Page 532                                                              Page 534
  1         A. He was an excellent toolpusher.                                              1       A. That's true.
  2         Q. Okay. Did you ever experience                                                2       Q. From your experience with him,
  3     any indication that he was indifferent or                                           3   what was his attitude toward the safety of
  4     callous towards the safety of individuals                                           4   individuals and the environment?
  5     or the environment?                                                                 5       A. Safety first, job second.
  6         A. No.                                                                          6       Q. Okay. Don Clark was another
  7         Q. Was it just the opposite with                                                7   assistant driller?
  8     Mr. Anderson, as well?                                                              8       A. Yes, sir.
  9         A. That's right, just the opposite.                                             9       Q. And were you comfortable with
 10         Q. Okay. From your experience with                                             10   him as an assistant driller on the
 11     him, what was his attitude toward the                                              11   DEEPWATER HORIZON?
 12     safety of individuals and the environment?                                         12       A. Yes, I was.
 13         A. Safety first, environment first.                                            13       Q. Did you ever experience any
 14     Then the job came third.                                                           14   indication that he was indifferent or
 15         Q. Dewey Revette, were you                                                     15   callous toward the safety of individuals or
 16     comfortable with him as the -- the driller                                         16   the environment?
 17     on the DEEPWATER HORIZON?                                                          17       A. No.
 18         A. Yes, I was.                                                                 18       Q. You'd agree it was just the
 19         Q. Did you ever experience any                                                 19   opposite with him, as well?
 20     indication that he was indifferent or                                              20       A. That's right.
 21     callous towards the safety of individuals                                          21       Q. From your experience with him,
 22     or the environment?                                                                22   what was his attitude toward the safety of
 23         A. No.                                                                         23   individuals and the environment?
 24         Q. Was it just the opposite with                                               24       A. Safety first, environment, task
 25     him, as well?                                                                      25   at hand.
                                                                        Page 533                                                              Page 535
  1        A. That's right.                                                                 1       Q. And Captain Kuchta, were you
  2        Q. From your experience with him,                                                2   comfortable with him as the captain on the
  3     what was your (sic) attitude toward the                                             3   DEEPWATER HORIZON?
  4     safety of individuals and the environment?                                          4       A. Yes, I was.
  5        A. It was a bit Transocean culture                                               5       Q. Did you ever experience any
  6     out there for safety first, environment,                                            6   indication that he was indifferent or
  7     and then the task at hand, and everybody                                            7   callous towards the safety or individuals
  8     supported that.                                                                     8   or the environment?
  9        Q. Mr. Revette was onboard with                                                  9       A. No, sir.
 10     that culture?                                                                      10       Q. You'd agree it was just the
 11        A. He was onboard with that                                                     11   opposite with him?
 12     culture.                                                                           12       A. Yes, sir.
 13        Q. Stephen Curtis, he was an                                                    13       Q. And from your experience with
 14     assistant driller, correct?                                                        14   him, what was his attitude toward the
 15        A. That's -- that's correct.                                                    15   safety of individuals and the environment?
 16        Q. Were you comfortable with him as                                             16       A. Individual safety first,
 17     an assistant driller?                                                              17   environment, and then the task at hand.
 18        A. Yes, I was.                                                                  18       Q. Did you ever have any problems
 19        Q. Did you ever experience any                                                  19   with any of the individuals we just talked
 20     indication that he was indifferent or                                              20   about in terms of their competency while
 21     callous toward the safety of individuals or                                        21   you worked as a well -- well team leader --
 22     the environment?                                                                   22   or wellsite leader assigned to the
 23        A. No.                                                                          23   DEEPWATER HORIZON?
 24        Q. Was it just the opposite with                                                24       A. No, sir.
 25     him, as well?                                                                      25       Q. Did you ever have any problems

                                                                                                                  14 (Pages 532 to 535)
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              Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 63 of 82
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                     Reported by:

MURRY SEPULVADO VOL. II May 12, 2011                                                                              THU BUI, CCR, RPR
                                                                        Page 536                                                         Page 538
  1     with any of these individuals we just                                              1      A. Yes.
  2     talked about in terms of their safety                                              2      Q. If you had any problem with the
  3     consciousness while you worked as a                                                3   competency of any of the individuals we
  4     wellsite leader on the DEEPWATER HORIZON?                                          4   just talked about, you could have done
  5         A. Never had.                                                                  5   something about it, correct?
  6         Q. Okay. If you could turn back                                                6      A. Yes.
  7     the clock and if you could work on a rig
  8     with these guys again, would you have any
  9     problem working on a rig with these guys?
 10         A. It would be my -- be my
 11     pleasure.
 12         Q. I want you to turn to the Bly
 13     report, which I have brought you a copy.
 14     It's -- it's attached as Exhibit 1, but I
 15     brought a copy just in case. That's it
 16     right there, sitting in this binder right
 17     here.
 18                   I want you to turn to
 19     Page 43. There's one -- there's the last
 20     paragraph just two sentences down at the
 21     bottom. And the first sentence of that
 22     last paragraph is, Key members of the rig
 23     crew need to be trained and demonstrate
 24     competency.
 25                   Do you see that?
                                                                        Page 537                                                         Page 539
  1         A. Yes, sir, I see that.
  2         Q. Okay. Now, I'm -- am I safe in
  3     assuming that based upon everything we just
  4     talked about, you never told the Bly
  5     investigation that any of the guys we just
  6     talked about needed to be trained and
  7     demonstrate competency?
  8         A. No, sir.
  9         Q. Okay. So whoever the Bly
 10     report -- Bly investigation is talking
 11     about in this -- in this sentence we just
 12     read, it may be some other group, but it's
 13     not the guys we just talked about, based on
 14     your experience?
 15         A. That's true.
 16         Q. Did the -- did anybody with the
 17     Bly investigation ever talk with you when
 18     you had conversations with them and ask you
 19     about the competency of the individuals we
 20     just talked about?
 21         A. When I talked to the Bly
 22     Commission, I was totally confident in the
 23     personnel that was on the rig.
 24         Q. Okay. And that's what you told
 25     them?

                                                                                                                15 (Pages 536 to 539)
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Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 64 of 82




                                                           JUL 2 7 2011
                      WITNESS CERTIFICATE



              I,   MURRY SEPULVADO, have read or have had

              the foregoing testimony read to me and hereby

              certify that it is a true and correct transcription

              of   my testimony,      with the   exception    of any

              attached corrections or changes.



        7- S- 1011
        -----_QL­                         ~+~~
         (Date Signed)                       (Signature)



        __tL Signed with corrections as attached.
                   Signed with no corrections noted.
                   Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 65 of 82
IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                     Reported by:

RONALD W. SEPULVADO VOL. II                                                                      March 11, 2011   JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                         Page 413
                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOUISIANA




                   IN RE: OIL SPILL                                     MDL NO. 2179
                   BY THE OIL RIG
                   "DEEPWATER HORIZON"                                  SECTION:                 J
                   IN THE GULF OF
                   MEXICO, ON APRIL                                     JUDGE BARBIER
                   20, 2010                                             MAG. JUDGE SHUSHAN




                                                           VOLUME II

                       Deposition of RONALD W. SEPULVADO,
                taken in the Pan American Life Center,
                Bayou Room, 11th Floor, 601 Poydras Street,
                New Orleans, Louisiana 70130, on Friday,
                March 11, 2011.



                APPEARANCES:



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                                  & ABRAMSON
                                  (By: Paul M. Sterbcow, Esquire)
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                                      (Attorneys for the Plaintiffs
                                       Steering Committee)




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IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                             Reported by:

RONALD W. SEPULVADO VOL. II                                                                      March 11, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                            Page 462                                                   Page 464
   1                                                                                                     1




 10                                                                                                     10




                                                                                            Page 463                                                   Page 465




 10                                                                                                     10     Q. Let me go to the drill crew for
                                                                                                        11 a few minutes. You were on that rig eight
                                                                                                        12 years. You mentioned before it was your
                                                                                                        13 home away from home.
                                                                                                        14     A. Yes, sir.




                                                                                                        21    Q. You knew those people well, you
                                                                                                        22 knew the condition of the rig as of
                                                                                                        23 April 16th. Was that the day you left it?
                                                                                                        24    A. Yes, sir. April 16th.
                                                                                                        25    Q. You knew the condition of the
                                                                                                                             14 (Pages 462 to 465)
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IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                               Reported by:

RONALD W. SEPULVADO VOL. II                                                                      March 11, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                            Page 466                                                   Page 468
  1         rig, you knew the competency of the people                                                   1   sleeping on it?
  2         out there. I'm assuming that you knew                                                        2       A. That's right. Anything that I
  3         Jimmy well?                                                                                  3   knew about.
  4             A. Yes, I did.                                                                           4       Q. All right. Did any of these men
  5             Q. Jimmy Harrell?                                                                        5   that I just mentioned, including Captain
  6             A. Yes, sir.                                                                             6   Kuchta, ever in your experience with them
  7             Q. I'm assuming you knew Randy                                                           7   seem like men that would lie to you?
  8         Ezell?                                                                                       8       A. No.
  9             A. I did.                                                                                9       Q. Did they ever seem like men that
 10             Q. Jason Anderson?                                                                      10   would themselves hide issues that would
 11             A. Yes, sir.                                                                            11   subject them or anyone else to safety
 12             Q. Dewey Revette?                                                                       12   issues out on that rig?
 13             A. Yes, sir.                                                                            13       A. No.
 14             Q. Stephen Curtis?                                                                      14       Q. Tell me a little bit about Dewey
 15             A. Yes, sir.                                                                            15   Revette. What was your experience with
 16             Q. Mr. Clark, Donald Clark?                                                             16   him?
 17             A. Yes, sir.                                                                            17       A. Dewey had been on the rig, I
 18             Q. You've known them for years?                                                         18   guess, since it came out of the shipyard.
 19             A. Yes, sir.                                                                            19   I can't remember exactly because I didn't
 20             Q. I read something, and I could be                                                     20   go on there for two years after it was out
 21         wrong, but I read something where you                                                       21   of the shipyard.
 22         learned of the explosion and fire from your                                                 22           But he came up, when I knew
 23         son calling you?                                                                            23   Dewey he was doing safety, he was safety
 24             A. Yes, sir. That's right.                                                              24   personnel on the rig. He was -- he did
 25             Q. Did it surprise you that that                                                        25   performance, he was a performance, what we
                                                                                            Page 467                                                   Page 469
  1         had occurred?                                                                                1   call a performance engineer. He did that
  2             A. It did.                                                                               2   for a while and he had been -- he went to
  3             Q. Knowing the competency and the                                                        3   AD and then he went to drilling.
  4         condition of the rig, did it stun you when                                                   4           And I can't recall exactly how
  5         you turned on the TV and saw what had                                                        5   long he had been drilling. Probably two or
  6         occurred?                                                                                    6   three years. And that's an estimate.
  7             A. Yes, it did.                                                                          7      Q. What did you think about his
  8             Q. Why?                                                                                  8   capabilities as a driller?
  9             A. Because, you know, I knew who                                                         9      A. Well, you know, he was
 10         was on tour at the time and they were good                                                  10   experienced in taking kicks.
 11         hands. I just couldn't -- you know,                                                         11      Q. You feel like he knew what he
 12         couldn't imagine, you know, what would                                                      12   was doing?
 13         cause that.                                                                                 13      A. Yeah.
 14             Q. Well, you received a lot of                                                          14      Q. Were you confident and
 15         questions yesterday about audits and                                                        15   comfortable with him up on the drill floor?
 16         serious issues and nonserious issues. For                                                   16      A. Yes, I was.
 17         half of your life you had to live on that                                                   17      Q. Did he ever seem to you like the
 18         rig?                                                                                        18   guy that would be indifferent toward the
 19             A. Yes, sir.                                                                            19   safety of other individuals or the
 20             Q. Whatever the conditions that the                                                     20   environment?
 21         rig was, that was your home?                                                                21      A. No.
 22             A. Yes, sir.                                                                            22      Q. Did he seem to you just the
 23             Q. And I'm assuming that if you had                                                     23   opposite?
 24         felt that there was anything unsafe about                                                   24      A. Yeah. He was a good -- I
 25         any aspect of that rig, you would not be                                                    25   considered him a good driller.
                                                                                                                               15 (Pages 466 to 469)
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IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                              Reported by:

RONALD W. SEPULVADO VOL. II                                                                      March 11, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                            Page 470                                                  Page 472
  1            Q. What was his attitude towards                                                          1      A. Yes, sir. He did.
  2         safety?                                                                                      2      Q. Were you comfortable with him as
  3            A. He was -- he thought about                                                             3   the OIM?
  4         safety as safety first.                                                                      4      A. Yes, I was.
  5            Q. Jason Anderson, do you know him?                                                       5      Q. Did you ever experience any
  6            A. Yes, sir.                                                                              6   indication that he was indifferent or
  7            Q. Tell me about Jason.                                                                   7   callous toward the safety of individuals or
  8            A. I didn't do a whole lot of work                                                        8   the environment?
  9         with Jason because he was on -- he was on a                                                  9      A. No, I did not.
 10         different hitch than I was on until                                                         10      Q. From your experience out there
 11         Transocean went to 21 and seven and I                                                       11   with him for years, what was his attitude
 12         started catching some time with him. Not a                                                  12   toward the safety of individuals or the
 13         whole lot, but the time I did spend with                                                    13   environment?
 14         him, he seemed like a competent toolpusher.                                                 14      A. Safety was his number one
 15            Q. Did he ever indicate to you that                                                      15   priority.
 16         he was indifferent or callous toward safety                                                 16      Q. You mentioned Stephen Curtis.
 17         of other individuals or the environment?                                                    17   Tell me about Mr. Curtis.
 18            A. No, he didn't.                                                                        18      A. Stephen, I didn't work that much
 19            Q. From your experience with him on                                                      19   with Steve. When he was a deck foreman he
 20         the rig, what was his attitude toward                                                       20   worked on the opposite hitch from me. I
 21         safety?                                                                                     21   did start catching him a few hitches once
 22            A. He had a good attitude toward                                                         22   he went into the AD tier and really didn't
 23         safety.                                                                                     23   work with Steve a whole lot.
 24            Q. Mr. Jimmy, as everybody seems to                                                      24      Q. When you did work with him, what
 25         call him, Jimmy Harrell?                                                                    25   was his attitude toward safety?
                                                                                            Page 471                                                  Page 473
  1            A. Yes, sir.                                                                              1       A. He had a good attitude.
  2            Q. You knew him the entire time you                                                       2       Q. Do you ever experience any
  3         were out on the rig?                                                                         3   indication in Mr. Curtis that he was
  4            A. He was, I think Jimmy's been on                                                        4   reckless or callous or indifferent toward
  5         there about five years.                                                                      5   the safety of other men or the environment?
  6            Q. Worked with him a lot?                                                                 6       A. No.
  7            A. Yes, I did.                                                                            7       Q. Was it just the opposite?
  8            Q. In fact, this crew that was out                                                        8       A. He was good. You know, he was
  9         there when the rig blew up, you had more                                                     9   training at the AD position but, you know,
 10         experience with Jimmy than anybody else on                                                  10   they got two ADs there so the other AD, Don
 11         that crew, I assume?                                                                        11   Clark, was training him.
 12            A. Yes, sir. And Don Clark. Don                                                          12       Q. And you knew Don for a long
 13         Clark was one of the ADs. He's been out                                                     13   time?
 14         there since the rig come out of the                                                         14       A. Yes. I knew Don for a long
 15         shipyard. Stephen Curtis was pretty new at                                                  15   time.
 16         the AD position. He came from being a deck                                                  16       Q. And tell me about Don.
 17         foreman to an AD.                                                                           17       A. Don's the same way. You know,
 18            Q. Well, tell me about Jimmy and                                                         18   he's a good competent person and I enjoyed
 19         then I'll get to Curtis and Clark. Tell me                                                  19   working with him.
 20         about Jimmy and your observations of him as                                                 20       Q. Ever have any concern about his
 21         an OIM.                                                                                     21   attitude toward safety?
 22            A. I didn't have any problems with                                                       22       A. No, sir.
 23         Jimmy at all.                                                                               23       Q. Any indication in all the years
 24            Q. You think he knew what he was                                                         24   you worked with him that he was reckless or
 25         doing?                                                                                      25   indifferent toward the safety of others or
                                                                                                                              16 (Pages 470 to 473)
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IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                             Reported by:

RONALD W. SEPULVADO VOL. II                                                                      March 11, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                            Page 474                                                 Page 476
  1         the environment?                                                                             1       A. No.
  2             A. No, sir.                                                                              2       Q. Did you ever feel like he was
  3             Q. You know Captain K?                                                                   3   callous or reckless or indifferent --
  4             A. Kuchta?                                                                               4       A. No.
  5             Q. Yes.                                                                                  5       Q. -- toward the safety of other
  6             A. Yes, sir. I did know him.                                                             6   individuals or for the environment?
  7             Q. Did you have any run-ins or                                                           7       A. No.
  8         problems with him?                                                                           8       Q. Did you have any problems with
  9             A. No, I didn't. You know, he was                                                        9   any of these men, ever, in terms --
 10         on the rig as chief mate for a long time                                                    10       A. No.
 11         and then he went to, they sent him to                                                       11       Q. -- of their competency to be on
 12         another rig and then promoted him to                                                        12   a rig that you were the company man for?
 13         captain and then he came back to the                                                        13       A. I thought they all were good
 14         HORIZON as a captain.                                                                       14   people, good -- you know, good workers and
 15             Q. How long altogether did you know                                                     15   good safety people.
 16         Captain K? Well, he's still alive so you                                                    16       Q. For those that are alive today
 17         still know him?                                                                             17   and those that are dead today, if we can
 18             A. Yes. But three, four years,                                                          18   turn back the clock, even knowing what we
 19         probably.                                                                                   19   know now, if they were put on a different
 20             Q. Any problems with him and his                                                        20   rig, would you feel comfortable being the
 21         attitude toward safety?                                                                     21   company man on a different rig with every
 22             A. No.                                                                                  22   one of these men?
 23             Q. Any attitudes -- any concern                                                         23       A. Yes. I would feel comfortable.
 24         that you had about whether he was reckless                                                  24       Q. There's a section in the Bly
 25         or indifferent towards the safety of other                                                  25   report that I want to show you. And I know
                                                                                            Page 475                                                 Page 477
  1         individuals or the environment?                                                              1   yesterday you didn't -- you were not
  2             A. No, sir.                                                                              2   involved in the Bly commission at all
  3             Q. Randy Ezell, you knew Randy?                                                          3   except for giving an interview?
  4             A. I knew Randy. I guess he came                                                         4       A. Yes. Two telephone calls at
  5         out with the rig, too. He had been on the                                                    5   different times.
  6         rig ever since it came out of the shipyard.                                                  6       Q. I'm going to hand you page 43
  7         He was a driller and I worked some with him                                                  7   and there's a statement that said key
  8         as a driller. And when they promoted him                                                     8   members of the rig crew need to be trained
  9         to pushing tools he was kind of on the                                                       9   and demonstrate competency.
 10         opposite hitch from me until they went to                                                   10           You see that? I've highlighted
 11         the 21-day hitches and then I started                                                       11   it for you on page 43 of that Bly report.
 12         catching him on a week or so.                                                               12       A. Yes, I see that.
 13             Q. And sort of a bittersweet                                                            13       Q. Am I safe in assuming, based
 14         moment, he, after the rig sank he was a                                                     14   upon everything that we've just gone over,
 15         recipient of the first award, the award                                                     15   that you're definitely not the one that
 16         from Transocean for tremendous work effort.                                                 16   said you felt like Jimmy Harrell or Randy
 17         Were you aware of that?                                                                     17   Ezell or Jason Anderson or Dewey Revette or
 18             A. No, I wasn't.                                                                        18   Steve Curtis, Don Clark, Captain K, you
 19             Q. Let me back up. From your                                                            19   never said they needed training to
 20         observations of Randy, what kind of worker                                                  20   demonstrate competency?
 21         was he?                                                                                     21       A. I don't know where this came
 22             A. He was a good worker.                                                                22   from.
 23             Q. Did you have any concerns about                                                      23       Q. But it didn't come from you?
 24         his attitude toward the safety of the                                                       24       A. It didn't come from me.
 25         environment or other individuals?                                                           25       Q. Because you felt and still feel
                                                                                                                             17 (Pages 474 to 477)
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IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                     Reported by:

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                                                                                            Page 478                                         Page 480
  1         that they were competently trained and they                                                  1
  2         performed their jobs competently while you
  3         were on board the rig?
  4             A. Yes, I do. I don't agree with
  5         that. I don't know who did it or who
  6         they're talking about but, you know, the
  7         people that were on tour when that
  8         happened, you know, I don't agree with
  9         that.
 10             Q. Well, if Mr. Bly on page 43 is                                                       10
 11         talking about this crew, you don't agree
 12         with it?
 13             A. No.
 14             Q. He may be talking about somebody
 15         else but if he is talking about this
 16         crew --
 17             A. The crew that was on tour.
 18             Q. -- Mr. Bly got it wrong?
 19             A. Yeah. I don't agree with
 20         whoever said this.

                                                                                                        22



                                                                                            Page 479                                         Page 481




 10                                                                                                     10




                                                                                                                        18 (Pages 478 to 481)
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IN RE:   OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO, ON APRIL 20, 2010                                                              Reported by:

RONALD W. SEPULVADO VOL. II                                                                      March 11, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                            Page 670                                                  Page 672
   1                                                                                                     1




 10                                                                                                     10




                                                                                            Page 671                                                  Page 673




 10                                                                                                     10      Q. And you were asked a number of
                                                                                                        11   questions about your observations of the
                                                                                                        12   Transocean personnel. And to the best of
                                                                                                        13   your knowledge and experience and ability
                                                                                                        14   of evaluating these gentlemen, they -- your
                                                                                                        15   view was they were qualified and competent
                                                                                                        16   for the jobs they were doing; is that
                                                                                                        17   correct?
                                                                                                        18      A. Yes, they were.




                                                                                                                              66 (Pages 670 to 673)
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                                                                                                 APR 2 5 2011

                                  WITNESS CERTIFICATE



                   I, RONALD W. SEPULVADO, have read or have

                   had the foregoing testimony read to me and

                   hereby certify that                     it    is     a        true and correct

                   transcription              of           my testimony,                with the

                   exception            of      any             attached corrections               or

                   changes.



           IJ   ill/II
          _L../.llL~__­




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                                                    1                                                            3
          UNITED STATES DISTRICT COURT                   1   APPEARANCES: (Continued)
          EASTERN DISTRICT OF LOUISIANA                  2   Mr. Richard J. Hymel
                                                             Mr. Robert Blankenship
                                                         3   PREIS & ROY, PLC
     IN RE: OIL SPILL       ) MDL NO. 2179                   102 Versailles Boulevard, Suite 400
     by the OIL RIG,      )                              4   Lafayette, Louisiana 70509
     DEEPWATER HORIZON in ) SECTION "J"                      Phone: 337-237-6062
     the GULF OF MEXICO, )                               5
                                                                    APPEARING FOR TRANSOCEAN
     April 20, 2010     ) JUDGE BARBIER                  6
                    )                                        Mr. Eric Nichols
                    ) MAG. JUDGE                         7   BECK, REDDEN & SECREST
                    ) SHUSHAN                                515 Congress, Suite 1750
                                                         8   Austin, Texas 78701
                                                         9           APPEARING FOR CAMERON
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                                                             Ms. Stefanie Major
                                                        11   GODWIN RONQUILLO
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                                                        12   Dallas, Texas 75270-2041
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                                                        14   Mr. David A. Pote
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                                                        16   Phone: 504-524-5777 Fax: 504-524-5763
                                                        17
                                                                    APPEARING FOR THE STATE OF
                                                        18          LOUISIANA
                                                        19
                                                             Mr. Dennis Barrow
             Videotaped deposition of JOHN              20   WARE, JACKSON, LEE & CHAMBERS
     SHAUGHNESSY, taken at Pan-American Building,            4929 Allen Parkway, 42nd Floor
     601 Poydras Street, 11th Floor, New Orleans,       21   Houston, Texas 77019
                                                        22          APPEARING FOR DRIL-QUIP
     Louisiana, 70130, on the 27th of September,        23
     2011.                                              24
                                                        25

                                                    2                                                            4
 1          APPEARANCES                                  1   APPEARANCES:(Continued)
 2                                                       2
     Ms. Robin Greenwald
 3   Ms. Erika Heyder                                    3   Mr. Lucas T. Elliott
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                                                        11           APPEARING FOR WEATHERFORD
13   U.S. DEPARTMENT OF JUSTICE                         12   ALSO PRESENT:
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14   1425 New York Avenue, Northwest                    14   REPORTED BY:
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     Phone: 202-616-4037 Fax: 202-616-4159                          THU BUI, CCR, RPR
16                                                      16          Certified Court Reporter
17          APPEARING FOR THE UNITED                                State of Louisiana
            STATES                                      17          State of Texas
18
     Mr. David Magee
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22
23                                                      23
24                                                      24
25                                                      25

                                                                                                   1 (Pages 1 to 4)
                                PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 74 of 82

                                    189                                                        191




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                                    190                                                        192




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                                          12       Q. Okay. At any time, did you ever
                                          13   get the impression that anyone at Transocean
                                          14   was callous or consciously indifferent to the
                                          15   safety of individuals or the environment?
                                          16       MR. OCCHUIZZO: Objection to form.
                                          17       A. In my experience with
                                          18   Transocean, that would be with the Discoverer
                                          19   Seven Seas in the '80s, the Discoverer 534 in
                                          20   the '90s and in this last decade, with the
                                          21   DD-II and DD-III, and it's my -- my
                                          22   experience that the answer is no.
                                          23       Q. Okay. Did you ever hear that
                                          24   anyone at Transocean was callous or
                                          25   consciously indifferent to the safety of

                                                                48 (Pages 189 to 192)
                PURSUANT TO CONFIDENTIALITY ORDER
         Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 75 of 82

                                          193                                       195
    1   individuals or the environment?
    2      A. No.
    3




1                                               1




                                          194                                       196




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                                                             49 (Pages 193 to 196)
                         PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 76 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

DAVID C. SIMS VOL. II                                                                          April 7, 2011   JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                      Page 333
                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                                                        VOLUME II

                      Deposition of DAVID C. SIMS, taken
               in the Pan American Life Center, Bayou
               Room, 11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Thursday,
               April 7, 2011.



               APPEARANCES:


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                                 (By: J. Christopher Zainey, Jr.,
                                       Esquire)
                                 909 Poydras Street
                                 Suite 1650
                                 New Orleans, Louisiana 70112
                                     (Attorneys for MDL plaintiffs)




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                                                                                                                             f000bdfa-5f68-4951-98ad-7440f43a1bd8
                Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 77 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported by:

DAVID C. SIMS VOL. II                                                                   April 7, 2011 JOSEPH R. KAISER, JR., CCR, RPR
                                                                                               381                                                           383
                                                                                                      1          A. There was a planned early in the
                                                                                                      2      year that the leadership teams, the
                                                                                                      3      drilling ops managers, BP's directors would
                                                                                                      4      attend, make a rig visit at least once a
                                                                                                      5      month. And the rig visit for the HORIZON
                                                                                                      6      was originally scheduled some other earlier
                                                                                                      7      dates but because of conflicts had gotten
                                                                                                      8      changed.
                                                                                                      9              The idea was also for
                                                                                                     10      contractor, whichever rig we were going to,
                                                                                                     11      for that contractor leadership personnel to
                                                                                                     12      also, to attend with the BP leadership.
                                                                                                     13      And we call those leadership visits.
                                                                                                     14              The idea was to do that once a
                                                                                                     15      month, go to, go to one or two rigs. And
                                                                                                     16      there was, there were a list of different
                                                                                                     17      types of things that would, that we were
                                                                                                     18      encouraged and expected to do while we were
                                                                                                     19      there.
                                                                                                     20          Q. Let me ask you this, sir: Prior
                                                                                                     21      to the April 20th visit had you been to the
                                                                                                     22      HORIZON rig at any time? You, personally.
                                                                                                     23          A. Prior to that, I believe I had
                                                                                                     24      been there six times. It could be more.
                                                                                                     25          Q. Okay, sir. And you and Mr. Pat
                                                                                               382                                                           384
                                                                                                         1   O'Bryan went out together, along with
                                                                                                         2   others if you will, but the two of you were
                                                                                                         3   from BP that went out on April 20th;
                                                                                                         4   correct?
                                                                                                         5      A. That's correct.
                                                                                                         6



   1                                                                                                 1




   24           Q. Okay. All right. Why did you
   25        go to the rig on April 20th?
                                                                                                                            13 (Pages 381 to 384)
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New Orleans, LA 70130-6029                                         Board-Certified Court Reporters                                Facsimile: (504) 525-9109
                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 78 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                Reported by:

DAVID C. SIMS VOL. II                                                                          April 7, 2011       JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 450                                                   Page 452
   1                                                                                                   1       A. To the extent that I knew
                                                                                                       2   everyone there, I didn't know everyone so I
                                                                                                       3   can't say that everyone was knowledgeable.
                                                                                                       4       Q. Well, let's put it this way:
                                                                                                       5   You trusted the crew?
                                                                                                       6       MS. KARIS:
                                                                                                       7            Object to form.
                                                                                                       8       THE WITNESS:
                                                                                                       9            From what I knew of the rig and
 10                                                                                                   10   I -- in the general sense, yes, I would
                                                                                                      11   have trusted the crew.




                                                                                           Page 451                                                   Page 453




  7               I want to first ask you about,
  8        about the Transocean crew and management
  9        that were present on the Macondo well.
 10               You are not aware, are you, sir,                                                    10
 11        of any performance concerns with Transocean
 12        during the drilling of the Macondo well;
 13        correct?
 14           A. What are you referring to? The
 15        HORIZON?
 16           Q. Yes. I'm sorry.
 17           A. I'm not aware of any. Not what
 18        I would call performance concerns.
 19           Q. All right. In fact, I think
 20        you've said before that the Transocean crew
 21        was a good crew; correct, sir?
 22           A. I believe that, yes, sir.
 23           Q. They were skilled?                                                                                                               :
 24           A. Yeah.
 25           Q. Knowledgeable?
                                                                                                                            31 (Pages 450 to 453)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                        Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                      Facsimile: (504) 525-9109
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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 79 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported by:

DAVID C. SIMS VOL. II                                                                          April 7, 2011       JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 474                                                 Page 476
   1                                                                                                  1




 10                                                                                                   10




                                                                                           Page 475                                                 Page 477




 10                                                                                                   10




                                                                                                      18      Q.          Are you aware, sir, of
                                                                                                      19   anyone, including in my interest here the
                                                                                                      20   Transocean personnel or management that
                                                                                                      21   were involved in the Macondo prospect and
                                                                                                      22   in connection with the Macondo prospect of
                                                                                                      23   deliberately wanting to cause injury to the
                                                                                                      24   environment, or to any person?
                                                                                                      25      A. No, sir.
                                                                                                                            37 (Pages 474 to 477)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                        Telephone: (504) 525-9100
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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 80 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

DAVID C. SIMS VOL. II                                                                          April 7, 2011   JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 478                                       Page 480
  1           Q. Of acting maliciously or not
  2        caring in any way about causing injury to
  3        another human, or the environment?
  4           A. No, sir.
  5           Q. Of willfully inflicting harm on
  6        any person or on the environment?
  7           A. No, sir.
  8           Q. You were on the DEEPWATER
  9        HORIZON on April the 20th when the event,
 10        as you referred to it, occurred.                                                           10
 11               Did you witness any Transocean
 12        employee or manager deliberately wanting to
 13        cause injury to the environment, or any
 14        person?
 15           A. No, sir.
 16           Q. Of acting maliciously or not
 17        caring about causing injury to another
 18        person, or the environment?
 19           A. No, sir.
 20           Q. Of willfully inflicting harm on
 21        any person or on the environment?
 22           A. No, sir.
 23           Q. Did you witness any Transocean
 24        employee, or anyone, to your knowledge, out
 25        there acting in what you would consider to
                                                                                           Page 479                                       Page 481
   1       be a negligent fashion?
   2          A. No, sir.
   3          Q. Of performing their work in what
   4       you would consider to be a negligent
   5       fashion?
   6          A. No, sir.



 10                                                                                                   10




                                                                                                                     38 (Pages 478 to 481)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 81 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                   Reported by:

CINDI K. SKELTON VOL. II                                                                      May 26, 2011 JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                   Page 355
                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:               J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                                                        VOLUME II

                      Deposition of CINDI K. SKELTON,
               taken in the Pan American Life Center,
               Bayou Room, 11th Floor, 601 Poydras Street,
               New Orleans, Louisiana 70130, on Thursday,
               May 26, 2011.



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                  Case 2:10-md-02179-CJB-DPC Document 4457-23 Filed 11/01/11 Page 82 of 82
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                  Reported by:

CINDI K. SKELTON VOL. II                                                                       May 26, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 512                                                Page 514
                                                                                                          1       Q. Are you aware of any evidence
                                                                                                          2   that Transocean personnel in connection
                                                                                                          3   with the DEEPWATER HORIZON willfully
                                                                                                          4   inflicted harm on any person or the
                                                                                                          5   environment?
                                                                                                          6       A. I have no evidence.
                                                                                                          7       Q. Are you aware of any evidence of
                                                                                                          8   negligence by Transocean in connection with
                                                                                                          9   the DEEPWATER HORIZON?
                                                                                                         10       A. I am not aware of any materials,
                                                                                                         11   anything that would relate to that.




                                                                                              Page 513                                                Page 515
   1                                                                                                     1




 14            Q. Are you aware of any evidence
 15        that any Transocean personnel in connection
 16        with the DEEPWATER HORIZON deliberately
 17        wanted to cause injury to the environment
 18        or any person?
 19            A. I have no evidence.
 20            Q. Do you have any evidence that
 21        any Transocean personnel in connection with
 22        the DEEPWATER HORIZON was malicious or
 23        didn't care in any way about causing injury
 24        to another human, or the environment?
 25            A. I have no evidence on that.
                                                                                                                               41 (Pages 512 to 515)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                          Telephone: (504) 525-9100
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                                                                                                                                         2075e666-d75c-482d-a11d-5f6b8f3bf335
